          Case 1:23-cr-10159-IT Document 77-9 Filed 07/17/23 Page 1 of 50




                        UNITED STATES DISTRICT COURT

                         DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )
     v.                                      ) CRIMINAL NO. 23-CR-10159
                                             )
JACK DOUGLAS TEIXEIRA                        )

                    DEFENDANT JACK DOUGLAS TEIXEIRA’S
                           DETENTION APPEAL




                                      Exhibit 9

                       Government’s Sentencing Memorandum

                           United States v. Robert Birchum

                               23-CR-32-KKM-TGW
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   1 of2 49
                                                                         of 50
                                                                            PageID 119




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 UNITED STATES OF AMERICA

       v.                                       CASE NO. 8:23-cr-32-KKM-TGW

 ROBERT BIRCHUM


               UNITED STATES’ SENTENCING MEMORANDUM

       For most of his 29 years of active duty in the United States Air Force, the

 Defendant served as an intelligence officer with a Top Secret clearance, entrusted

 with some of the nation’s most sensitive secrets. Toward the end of his career, he was

 assigned to work with the United States Special Operations Command and the

 Office of the Director of National Intelligence at MacDill Air Force Base in Tampa,

 where he was given access to highly classified information from various intelligence

 agencies about sensitive military operations and intelligence collection.

       The United States placed exceptional trust in the Defendant for a very long

 time. And for over a decade, the Defendant betrayed that trust. He repeatedly and

 deliberately engaged in conduct that put the nation’s secrets—and the safety of his

 fellow servicemembers and citizens—at risk by removing more than 300 classified

 documents and files, including Top Secret information, from secure locations and

 storing them in his residence, in a storage pod parked in his driveway, and in his

 overseas quarters. The Defendant’s motive for engaging in this illegal, unauthorized,

 and dangerous behavior remains unclear. What is clear is that his conduct was not a
                                                                             DEFENDANT
                                                                              EXHIBIT


                                                                                9
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   2 of3 49
                                                                         of 50
                                                                            PageID 120




 mistake or accident; the Defendant fully understood the potential damage to which

 he was exposing his country and its military and intelligence apparatus, yet he

 selfishly chose to continue mishandling classified information year after year, with

 no discernable regret until his criminal acts were eventually brought to light.

       Because the Defendant committed a serious offense that endangered the

 national security of the United States, a meaningful sentence of imprisonment is

 warranted based on a consideration of all the sentencing factors. The United States

 therefore recommends a low-end guideline sentence of 78 months’ imprisonment, a

 term of supervised release of 3 years, and a fine of $25,000.

                          PROCEDURAL BACKGROUND

       On February 21, 2023, the Defendant pleaded guilty, pursuant to a plea

 agreement, to an information charging him with one count of unlawful retention of

 national defense information (NDI), in violation of 18 U.S.C. § 793(e). Docs. 1, 6,

 13. In the plea agreement, the parties agreed to jointly recommend that the

 applicable guidelines included USSG §2M3.3(a)(1), because the Defendant willfully

 retained NDI classified as Top Secret/Sensitive Compartmented Information

 (TS/SCI), and USSG §3B1.3, because the Defendant abused a position of public

 trust and used a special skill in a manner that significantly facilitated the commission

 and concealment of the offense. Doc. 6 at 3.

       The Court accepted the Defendant’s guilty plea and adjudicated him guilty of

 the offense on March 8, 2023. Doc. 19.




                                            2
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   3 of4 49
                                                                         of 50
                                                                            PageID 121




       The Probation Officer prepared a presentence investigation report (PSR) and

 determined that, based on a total offense level of 28 and a criminal history category

 of I, the Defendant’s advisory guideline imprisonment range is 78 to 97 months.

 PSR, Doc. 21 at ¶ 90.

                                         FACTS

       The plea agreement sets outs a detailed recitation of the facts in this case, as

 does the PSR, which the United States hereby incorporates. Doc. 6 at ¶¶ 16-24; PSR,

 Doc. 21 at ¶¶ 10-31. The Defendant served in the Air Force for a total of 29 years,

 ultimately retiring at the rank of Lieutenant Colonel in 2018. Doc. 6 at 16. He

 worked in various jobs in the field of military intelligence, and his duties required

 him to work with classified information at the Joint Special Operations Command,

 United States Special Operations Command (USSOCOM), and the Office of the

 Director of National Intelligence (ODNI). Id.

       During his career, the Defendant was entrusted with the highest levels of

 classified information, including Top Secret/Sensitive Compartmented Information

 (TS/SCI). Id. Information is classified as “Top Secret” where unauthorized

 disclosure of that information could be expected to cause “exceptionally grave

 damage” to that national security. Id. at 17; Executive Order 13526. Because of the

 especially sensitive positions the Defendant occupied, he was also given access to

 even more closely held intelligence information safeguarded under “Alternative

 Compensatory Control Measures,” or ACCM. Id. at 18. For example, the Defendant

 was given access to information concerning Department of Defense locations

                                             3
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   4 of5 49
                                                                         of 50
                                                                            PageID 122




 throughout the world, detailed explanations of the Air Force’s capabilities and

 vulnerabilities, and the methods that the Air Force uses to gather, transmit, and

 exploit intelligence obtained by various Intelligence, Surveillance, and

 Reconnaissance (ISR) platforms. Doc. 6 at 20.

       The intelligence community—and the military—take certain precautions to

 protect classified NDI from falling into the wrong hands. One precaution is to

 require those who are granted access to execute a Non-Disclosure Agreement

 (NDA). Doc. 6 at 19. The defendant signed several such NDAs during his career.

 For example, he executed a “Sensitive Compartmented Information Nondisclosure

 Agreement” in August 2008 when he was assigned to USSOCOM at MacDill AFB

 in Tampa. Id. at 19. In the 2008 NDA, attached hereto as part of Exhibit 1, the

 Defendant acknowledged that “unauthorized retention, or negligent handling of SCI

 by me could cause irreparable injury to the United States or be used to advantage by

 a foreign nation.” Doc. 6 at 19; Exhibit 1 at 1, ¶ 3. At that time, the Defendant had

 already been promoted to the rank of Major, which is considered a “field-grade”

 officer in the military. The Defendant also signed a form in August 2008 entitled

 “Individual Reporting Responsibilities,” in which he acknowledged that he was

 required to report any adverse information, including “unwillingness to comply with

 rules and regulations or to cooperate with security processing,” and “apparent

 mental or emotional disorders.” Doc. 21 at ¶ 15; attached hereto as Exhibit 2.

       In addition to signing the NDAs and associated forms, in October 2008, the

 Defendant signed a document entitled “Special Instructions for Couriers of SCI in

                                            4
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   5 of6 49
                                                                         of 50
                                                                            PageID 123




 the Local Travel Area” attached as Exhibit 3. That form instructed him on the

 various measures he was expected to take whenever he transported SCI locally; for

 example, he was required to ensure that the material was wrapped, with a “locked

 briefcase or pouch” serving as an outer wrapper, and opaque envelopes or paper

 serving as inner wrappers, with proper security classifications on both sides of the

 innermost wrapper. Id. at ¶ 2(a). He was also specifically instructed to ensure that the

 material remained in his personal possession and under constant surveillance at all

 times. Id. at ¶ 2(b). He was not authorized “to carry SCI material to [his] home or

 office for personal convenience.” Id. at ¶ 4.

       On January 24, 2017, agents from the Air Force’s Office of Special

 Investigations (AFOSI) lawfully searched the Defendant’s home after they obtained

 information indicating that classified information was improperly stored there. Doc.

 6 at 21. During that search, agents seized a Thumb Drive, a Dell hard drive, and

 numerous paper documents containing classified NDI. Doc. 6 at 21, 23. The thumb

 drive contained 135 files with classified NDI, including 31 Top Secret files, some

 with ACCM information and 102 Secret files, some with ACCM information. Id.

 Among the Top Secret files were two electronic documents containing presentations

 from the National Security Agency (NSA) summarizing the NSA’s capabilities and

 methods of collection and identifying targets’ vulnerabilities. Id. at 22.

       About a week later, on January 30, 2017, AFOSI agents lawfully seized a

 personal Iomega hard drive that the Defendant possessed in his overseas temporary

 quarters; this space was not a secure facility equipped to store classified NDI. Doc. 6

                                             5
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   6 of7 49
                                                                         of 50
                                                                            PageID 124




 at 23. The hard drive contained 117 additional files with classified NDI; 12 of those

 files were marked as Top Secret, some with ACCM, 98 files were marked as Secret,

 some with ACCM, and 7 were marked as Confidential. Id. at 23-24.

       Finally, on February 3, 2017, AFOSI agents searched a storage pod located on

 the Defendant’s driveway at his home in Tampa. They seized 28 paper documents

 that contained information marked as Secret. Id. at 24.

                                      ARGUMENT

       In sentencing a criminal defendant, the court must consider the advisory

 guidelines range and the factors set forth in 18 U.S.C. § 3553(a). Gall v. United States,

 552 U.S. 38, 49-50 (2007); United States v. Rosales-Bruno, 789 F.3d 1249, 1253-54

 (11th Cir. 2015). The Section 3553(a) analysis begin with the court’s consideration of

 the nature and circumstances of the offense and the history and characteristics of the

 defendant. 18 U.S.C. § 3553(a)(1). Moreover, the sentence imposed should (1)

 adequately reflect the seriousness of the offense, (2) promote respect for the law, (3)

 provide just punishment, (4) afford adequate deterrence, (5) protect the public from

 future crimes of the defendant, and (6) provide the defendant with any necessary

 training or treatment. 18 U.S.C. § 3553(a)(2). The court should also consider the

 kinds of sentences available, any pertinent policy statement, and the need to avoid

 unwarranted sentence disparities among defendants with similar records who have

 been found guilty of similar conduct. Id. at (a)(3)-(6).




                                             6
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   7 of8 49
                                                                         of 50
                                                                            PageID 125




     a. The Nature and Circumstances of the Offense

        The first factor in the Court’s Section 3553(a) analysis weighs in favor of a

 guidelines sentence because the Defendant’s criminal conduct was especially

 serious—it put the national security of the United States at great risk over a period of

 many years. Indeed, the Supreme Court has noted that “[i]t is ‘obvious and

 unarguable’ that no governmental interest is more compelling than the security of the

 Nation.” Haig v. Agee, 453 U.S. 280, 307 (1981) (citations omitted, emphasis added).

 The risk inherent in the mishandling of classified NDI is one of the reasons why

 Congress added the crime of willful retention to the Espionage Act in 1950. The

 Senate Report preceding that statute’s enactment noted that the existing law

 provided no penalty for unauthorized possession of NDI unless a demand was made

 for it, stating:

        [t]he dangers surrounding the unauthorized possession of items
        enumerated in this statute are self-evident, and it is deemed advisable to
        require their surrender in such a case, regardless of demand, especially
        since their unauthorized possession may be unknown to the authorities who
        would otherwise make the demand.

 S. Rep. No. 80-247, at 7 (1949) (emphasis added); see also United States v. Ford, 288 F.

 App’x 54, 57, 61 (4th Cir. 2008) (rejecting argument that section 793(e) does not

 criminalize retention, without transmittal, of classified information in case involving

 former NSA employee who removed classified information from his office without

 detection by supervisors). Precisely that danger manifested here. USSOCOM,

 ODNI, JSOC, and the USAF did not know that the Defendant was stashing




                                             7
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   8 of9 49
                                                                         of 50
                                                                            PageID 126




 classified NDI in his home, storage pod, and overseas quarters until law enforcement

 discovered it.

        What’s more, many of the secrets that the Defendant deliberately removed

 from secure locations were of the greatest sensitivity—classified as Top

 Secret/Sensitive Compartmented Information (TS/SCI)—as well as items

 designated as ACCM, especially sensitive information that requires even greater

 protection than TS/SCI. The sentencing guidelines recognize that the unlawful

 retention of Top Secret information poses an especially serious threat to the national

 security, ascribing higher base offense levels to conduct involving Top Secret

 information. See USSG §§2M3.1-2M3.3. The commentary to §2M3.1 defines Top

 Secret information and emphasizes that “offense level distinctions in this subpart are

 generally based on the classification level of the information gathered or transmitted.

 This classification, in turn, reflects the importance of the information to national

 security.” Cmt. n.1, background.

        The Defendant is charged in the Information with unlawful retention of two

 Top Secret electronic documents. Doc. 1; Doc. 6 at 22; Doc. 21 ¶ 23. These

 documents summarized the NSA’s capabilities, detailed methods of collection, and

 identified targets’ vulnerabilities. Doc. 6 at 22. Despite their exceptional sensitivity,

 the Defendant downloaded and saved them on an unmarked personal thumb drive

 that agents later found in the Defendant’s home and that was accessible to his wife

 and anyone else who happened to be in his home. See Doc. 6 at 22.




                                              8
Case 8:23-cr-00032-KKM-TGW
        Case 1:23-cr-10159-IT Document 24
                                       77-9Filed
                                              Filed
                                                  05/08/23
                                                    07/17/23Page
                                                              Page
                                                                 9 of
                                                                   1049
                                                                      of PageID
                                                                         50     127




        In addition to the especially sensitive nature of the information that the

 Defendant mishandled, the sheer volume of all the classified NDI at issue here is

 staggering, consisting of over 300 classified items, including both digital files and

 paper documents. See PSR, Doc. 21 at ¶¶ 21, 26, 28, 30. Furthermore, the evidence

 shows that the Defendant willfully removed and retained these documents over a

 long period of time. For example, he downloaded classified documents (including 31

 Top Secret files) onto the thumb drive between approximately 2002 and 2008.1 Id. at

 ¶ 22. He also willfully retained classified NDI (including Top Secret information) in

 his overseas quarters in 2017, where, according to his military orders, he deployed on

 or about May 31, 2016. The Letter of Reprimand that the Defendant received from

 an Air Force Brigadier General in January 2018, attached hereto as Exhibit 4, details

 how the classified NDI seized from the Defendant is dated between 1998 and

 January 2017.2 Although the government cannot identify precisely when the

 Defendant removed these classified documents from his secure workplaces, it is

 likely that he did so over the course of more than a decade. Equally troubling, the

 Defendant made no effort to safeguard or limit others’ access to this classified


        1
           A digital forensic report prepared by the Department of Defense Cyber Crime Center
 revealed that 1450 files on the thumb drive had last been accessed between December 17, 2016, and
 January 26, 2017. The other 1267 files had last been accessed between January 25, 2003, and
 February 2, 2010. The thumb drive contained classified files as well as personal files, such as tax and
 credit card information. The digital forensic report also noted that the classification markings from
 certain electronic documents had been removed. Id. at 15-16.


        2
            The Defendant asked the Probation Officer to note in the final PSR that he had received
 this letter of reprimand for the same conduct as the instant offense. See Doc. 21, Addendum. The
 Probation Officer inserted that information in paragraph 48. Doc. 21 ¶ 28.


                                                    9
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   10 11
                                                                      of 49
                                                                         of 50
                                                                            PageID 128




 material after having removed it unlawfully—he kept both paper documents and

 electronic information in unsecured locations and on non-password-protected

 devices where others could (and did) access it.

        The Probation Officer has noted in the PSR that, although USSG §2M3.3 is

 correctly applied to the Defendant’s willful retention of NDI, this Court could

 consider varying downward from the stated guideline range because §2M3.3 also

 applies to an arguably (but not certainly) more serious violation of 18 U.S.C. § 793(e)

 involving the transmission of NDI. See Doc. 21 at ¶ 106. The United States

 responded to that contention in detail in its objections to the PSR. See Doc. 21

 Addendum. There is, however, no dispute that § 2M3.3 is the appropriate guideline

 for unlawful retention of NDI, and, as discussed above, the evidence in this case

 shows that the Defendant’s offense conduct in this case is an egregious example of

 willful retention, not one that is borderline or outside the heartland of retention

 cases. Moreover, this is not a case involving the Defendant’s mere negligence or

 innocent human error. The Defendant was a highly trained intelligence officer who,

 over the course of many years and many assignments, violated his core responsibility

 to safeguard classified information. He removed highly classified NDI, in paper and

 electronic format, from secure locations and stored it in wholly unsecure locations,

 where it potentially could be accessed (either in person or, in the case of the digital

 media, remotely) by unauthorized persons.

       Furthermore, although §2M3.3—which provides for a lower base offense level

 than §2M3.2 (entitled “Gathering National Defense Information”)—does not

                                            10
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   11 12
                                                                      of 49
                                                                         of 50
                                                                            PageID 129




 explicitly mention the act of willful retention in its title or background commentary,

 it does specifically list 18 U.S.C. § 793(e) as one of the statutes it covers.3 The

 Sentencing Commission explained in the commentary to §2M3.3 that the higher

 guidelines in §2M3.2 should be applied where the defendant communicated intangible

 NDI with reason to believe that it could be used to hurt the United States or help a

 foreign nation. USSG §2M3.3, cmt. n.2.; see United States v. Aquino, 555 F.3d 1224,

 130-31 (3rd Cir. 2009) (discussing USSG §§2M3.3 and 2M3.2 and holding that

 §2M3.3 applied to defendant’s willful retention of two classified documents).4 Thus,

 for other violations of § 793(e), including the willful retention of electronic or paper

 documents, the more lenient guidelines in §2M3.3 should apply.5 In any event,

 because the Defendant’s conduct here fits squarely into the heartland of willful

 retention cases, a variance below the agreed-upon guideline based on the generic

 definition of offense conduct in the guideline would yield a sentencing disparity

 among defendants convicted of retention.


         3
           Section 793(e) sets forth different means by which an individual can violate that statute,
 including the willful communication or transmission of NDI to any person not entitled to receive it,
 which information the possessor has reason to believe could be used to the injury of the United
 States or to the advantage of a foreign nation, as well as the willful retention of that NDI. 18 U.S.C.
 § 793(e).


         4
          See also, United States v. Harold Martin, 1:17-cr-00069-RDB (D. Md.), Doc. 204 (plea
 agreement specifying that, in case involving willful retention of Top Secret/SCI NDI, the parties
 agreed that USSG § 2M3.3 applied to offense conduct. The district court ultimately imposed a
 sentence of 108 months. Id., Doc. 219.
         5
          The Sentencing Commission has explained that the “hundreds of overlapping and
 duplicative statutory provisions that make up the federal criminal law forced the Commission to
 write guidelines that are descriptive of generic conduct rather than guidelines that track purely statutory
 language.” USSG Manual, Chapter One, at 6 (Nov. 1, 2021).


                                                      11
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   12 13
                                                                      of 49
                                                                         of 50
                                                                            PageID 130




        For all these reasons, a variance based on the nature and circumstances of the

 Defendant’s criminal conduct is not appropriate or warranted.

     b. The History and Characteristics of the Defendant

        Despite the Defendant’s lengthy service in the military and his lack of criminal

 history, his “history and characteristics” do not weigh in favor of leniency, for

 several reasons. First and foremost, the evidence in this case shows that the

 Defendant repeatedly, and over the course of many years, violated the special trust

 that the military had bestowed on him. Although he attended and completed

 “multiple intelligence operations courses,” Doc. 21 at ¶ 78, and earned separate

 master’s degrees in National Security Studies and Intelligence Studies, id. at 75-76,

 he willfully violated this trust and put his fellow service members at risk. Even as he

 was promoted to the lofty rank of Lieutenant Colonel and afforded the privileges and

 responsibilities of a “field-grade” intelligence officer, he continued to flout basic rules

 designed to protect the sensitive information about special operations missions and

 intelligence collection methods.

        The General Officer Letter of Reprimand sums up the Defendant’s conduct as

 follows:

        Your actions are disgraceful and have potentially seriously compromised
        national security. You have also compromised your integrity and
        character as an officer. As a field grade officer in the U.S. Air Force you
        are to demonstrate an internalized understanding of core Air Force
        values. You have engaged in an inexcusable manner that is not only
        irresponsible, but blatantly disregards our Service values.

 Exhibit 4 at 3.



                                             12
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   13 14
                                                                      of 49
                                                                         of 50
                                                                            PageID 131




        The Defendant’s actions following the agents’ discovery of classified

 information in his home and overseas quarters also counsel against leniency. On

 January 30, 2017, Air Force OSI agents interviewed the Defendant at Bagram Air

 Force Base in Afghanistan about mishandling classified information. The Defendant

 responded indignantly in writing, insisting that he had not “willingly” mishandled

 classified information. Doc. 21 at ¶ 29; Exhibit 5. He claimed that he had undergone

 “countless training on handling classified information and always applied safeguards

 necessary to handle it.” Id. Continuing, he stated that he had participated in “special

 operations units” where he had been required to travel with classified information,

 but he had “applied all security safeguards to it.” Id. He explained that he had

 worked on “many classified projects and always kept unclassified information

 separate from the classified.” Id. Remarkably, the Defendant made these assertions at

 the very same time that law enforcement was discovering that he had improperly

 stored classified information—including 12 Top Secret files—on the removable hard

 drive in his overseas barracks room. Doc. 21 at ¶ 28.

        Later, in December 2017—eleven months after the classified NDI was

 discovered in the Defendant’s home and overseas quarters—AFOSI agents

 discovered that he had brought a loaded firearm in his personal backpack to his duty

 station at MacDill Air Force Base. PSR, Doc. 21 at ¶¶ 46-48, 53. At the time, the

 Defendant was assigned to the Public Affairs Office, where he was tasked with

 organizing historical hard copy documents and photographs—a job that did not

 require him to access classified material via computer. Id. In addition to the loaded

                                           13
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   14 15
                                                                      of 49
                                                                         of 50
                                                                            PageID 132




 gun, agents also found 100 official Air Force Polaroid photographs inside the rear

 compartment of the backpack. Id. His supervisor reported that he should not have

 had that Air Force property in his personal backpack. Id.

        As a result of this conduct, the Defendant was banned from entering MacDill

 AFB for three years. Id. At ¶ 47. In a second Letter of Reprimand that the Defendant

 received for carrying a concealed weapon and failing to obey a general order, his

 Commander wrote that he had unlawfully possessed a privately owned firearm with

 a full magazine and a live round in the chamber at his workplace. Exhibit 6; see PSR,

 Doc. 21 at ¶ 48. The Commander further wrote that the “[a]ccording to statements

 you made to your supervisor, you routinely possessed a firearm on the installation

 despite the fact that you were not authorized to do so.” Id. The Defendant’s conduct

 “violated the trust” placed in him and he was a “threat to the safety and security of

 the installation.” Id. Despite knowing that he was under scrutiny due to the pending

 classified-information investigation, the Defendant flouted Air Force regulations

 and, again, potentially endangered his fellow service members by bringing a loaded

 firearm onto base and into his workspace.

        Moreover, the Defendant’s admission that he abused a position of public trust

 and used a special skill in a manner that significantly facilitated the commission and

 the concealment of the offense, see Doc. 21 at ¶¶ 6, 34, 39, underscores that this

 Court should not grant him leniency based on his history and characteristics, and

 particularly his military service. Indeed, the Eleventh Circuit has stated that “the

 reasoning behind §3B1.3 is that defendants who abuse a position of trust deserve

                                            14
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   15 16
                                                                      of 49
                                                                         of 50
                                                                            PageID 133




 more severe punishment, not less.” United States v. Howard, 28 F. 4th 180, 212 (11th

 Cir. 2022) (finding that district court had abused its discretion in granting substantial

 downward variance based, in part, on defendant’s loss of medical license after

 conviction for healthcare fraud); see also United States v. Steele, 178 F.3d 1230, 1239

 (11th Cir. 1999) (holding that it was an abuse of discretion for district court to grant

 downward departure based on the loss of a pharmacist license when that departure

 would negate an enhancement imposed for defendant’s abuse of his position as a

 pharmacist); see also United States v. Ford, 288 F. App’x 54, 61 (4th Cir. 2008) (district

 court did not err in applying abuse-of-trust enhancement because defendant, an NSA

 employee, would not have been able to remove classified documents from his office

 without detection if he had not held top secret security clearance).

        The PSR notes that the Defendant’s military service might warrant a

 downward departure pursuant to USSG §5H1.11. This section provides that military

 service may be relevant in determining whether a departure is warranted “if the

 military service, individually or in combination with other offender characteristics, is

 present to an unusual degree and distinguishes the case from the typical cases

 covered by the guidelines.” Id. Although it is undisputed that the Defendant served in

 the Air Force for 29 years, was promoted to the rank of Lieutenant Colonel, and

 received numerous awards for his service, he betrayed the military’s trust in him

 again and again. And he did so by mishandling some of the nation’s most sensitive

 secrets. His extensive service, and the training that the Air Force provided him, are




                                             15
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   16 17
                                                                      of 49
                                                                         of 50
                                                                            PageID 134




 the only reasons he was given access to the classified information that he flagrantly

 mishandled.

        In United States v. Theunick, 651 F.3d 578, 592 (6th Cir. 2011), the defendant, a

 former Chief of Police and Vietnam veteran who had been convicted of firearms

 offenses, sought a departure under §5H1.11 in light of his public and military service.

 The district court characterized the defendant’s request as “ironic” given that “the

 essence of the criminal activity in which the defendant was convicted [was]

 inextricably tied up with the official law enforcement position.” Id. The court

 explained that “the crime wouldn’t have been able to have been committed in the

 way in which it was had it not been for the position of public authority and public

 trust that the defendant occupied as chief of police.” Id. The Sixth Circuit, in turn,

 characterized the defendant’s request as “without merit.” Id.

        Like the defendant’s request in Theunick, a downward departure or variance

 based on Defendant Birchum’s military service is unwarranted and would be

 inappropriate. His military service did nothing to mitigate the consequences of his

 actions. If anything, the Defendant’s criminal conduct demonstrated his willingness

 to endanger his fellow servicemembers while deployed overseas in combat zones—

 an aggravating factor, if anything. A within-guidelines sentence is wholly

 appropriate under these facts.

        Nor is a variance or departure from the advisory guideline range warranted

 based on the Defendant’s struggle with several mental health conditions. Doc. 21 at

 ¶¶ 69-72. The Defendant suffered from PTSD, which was related to his service in

                                            16
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   17 18
                                                                      of 49
                                                                         of 50
                                                                            PageID 135




 combat zones, and he ultimately received a service-related disability retirement. Id. at

 ¶¶ 70-72. He had experienced the PTSD and other conditions since approximately

 2009. Id. These conditions, however, do not appear to be directly relevant to the

 offense conduct. Indeed, in the Defendant’s letter January 30, 2017, handwritten

 letter, he insisted that understood his obligations to safeguard classified information

 and that he had always “applied a high standard to security.” See Exhibit 5.

     c. General Deterrence

        The section 3553(a) factors that the court must consider encompass both

 specific and general deterrence. See United States v. Howard, 28 F.4th 180, 208 (11th

 Cir. 2022). Because the Defendant will likely never lawfully access classified

 information again, specific deterrence plays a secondary role in this case. General

 deterrence, however, is a very serious concern.

        Numerous recent cases highlight the importance of deterring the mishandling

 of classified information. Just last month, the FBI arrested a 21-year-old enlisted

 Airman in the Massachusetts Air National Guard who was charged with making

 unauthorized disclosures of classified NDI and unlawfully removing and retaining

 classified documents. See United States v. Jack Douglas Texeira, No. 23-MJ-4293-DHH

 (D. Mass 2023), Doc. 3-1 (Complaint affidavit); Doc. 19 (Government’s detention

 memo). This case and other incidents involving classified information have received

 significant media attention, and rightly so. As the Supreme Court has recognized,

 “no governmental interest is more compelling than the security of the Nation.” Haig




                                            17
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   18 19
                                                                      of 49
                                                                         of 50
                                                                            PageID 136




 v. Agee, 453 U.S. at 307. It follows that general deterrence plays a critical role in

 sentencing in national security cases.

        General deterrence is also a particularly compelling factor under the facts of

 this case because the Defendant was a highly trained professional who abused his

 professional privileges and special access to commit his crime. See Howard, 28 F. 4th

 at 208. In Howard, the Eleventh Circuit pointedly rejected the district court’s

 reasoning that effectively disregarded the consideration of general deterrence for a

 defendant who was a doctor and had perpetrated a massive healthcare fraud

 kickback scheme. Id. The district court had stated at sentencing that, if the prospect

 of losing one’s medical license and becoming a felon was not enough to deter the

 defendant from committing such crimes, the threat of a prison sentence could not

 deter him either. Id. Although the applicable guideline range for that defendant was

 78 to 97 months, the district court sentenced the defendant to no imprisonment at all,

 only 36 months of probation, with one year to be served in home detention. Id. at

 187, 201.

        The Eleventh Circuit responded that, if the district court’s ruling were

 approved, it would “tell judges not to consider general deterrence when sentencing

 any criminals who used their professional license or privilege to commit their crime.”

 Id. The court emphasized that “the Congress, the United States Sentencing

 Commission, and this Court” had all decided that general deterrence is a critical

 factor in sentencing defendants, including those who “wear white collars and

 practice a profession.” Id., citing United States v. Martin, 455 F.3d 1227, 1240 (11th

                                             18
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   19 20
                                                                      of 49
                                                                         of 50
                                                                            PageID 137




 Cir. 2006) (“[T]he Congress that adopted the § 3553 sentencing factors emphasized

 the critical deterrent value of imprisoning serious white collar criminals, even where

 those criminals might themselves be unlikely to commit another offense.”).

       Admittedly, the Defendant here, unlike most white-collar criminals, did not

 appear to have a financial motive to remove and hoard the classified NDI.

 Regardless of motive, however, the special privileges and trust that he violated, and

 the fact that he endangered the national security of the United States, similarly call

 for special scrutiny regarding this sentencing factor.

       Moreover, because the Defendant was a high-level commissioned military

 officer assigned to work on the most sensitive military operations, the sentence

 imposed in this case will very likely reverberate through the ranks of the Department

 of Defense, particularly the Special Operations and Military Intelligence

 communities at USSOCOM and CENTCOM. As the Eleventh Circuit opined in

 Howard, when a conviction is obtained in certain kinds of cases, “one of the primary

 objectives of the sentence is to send a message to others who contemplate such

 schemes that their crime is a serious one that carries with it a correspondingly serious

 punishment.” 28 F.4th at 209 (quotation marks and citation omitted).

     d. The Need to Avoid Unwarranted Sentence Disparities

       A guidelines sentence in this case would be consistent with sentences imposed

 in similar cases. Thankfully, there are a limited number of such cases. But, for

 example, in United States v. Harold Martin, the defendant, a former contractor with the

 NSA, pleaded guilty to violating § 793(e) for unlawfully retaining Top Secret

                                            19
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   20 21
                                                                      of 49
                                                                         of 50
                                                                            PageID 138




 information over the course of his long career. No. 1:17-cr-69-RDB, Doc. 204, (D.

 Md. July 19, 2019). The court sentenced Martin to 108 months’ imprisonment—the

 top of his guidelines range, as stipulated in his plea agreement. Id., Doc. 204 at 5, ¶ 9.

 In United States v. Ngia Pho, the defendant took classified information home from his

 NSA workplace, claiming that he hoped to make use of the information in the course

 of his performance evaluation. No. 1: 17-CR-631-GLR, Doc. 9, Doc. 19 at 6, Doc.

 30 (D. Md. Sept. 25, 2018).6 The court sentenced the defendant to 66 months’

 imprisonment. Id., Doc. 30. Similarly, in United States v. Kenneth Ford, the defendant

 admitted to agents that he had unlawfully retained classified documents on the last

 day of work at the NSA, claiming that the materials would help him with his new

 job. No. 8:05-cr-98-PJM (D. Md.), aff’d 288 Fed. App’x 54 (4th Cir. 2008).7 The

 court sentenced Ford to 72 months’ imprisonment. No. 8:05-cr-98, Doc. 57.

        Here, in the Middle District of Florida, U.S. District Judge Susan Bucklew

 recently sentenced Jeremy Brown, a retired Army Special Forces Master Sergeant, to

 a guidelines sentence of 87 months’ imprisonment for offenses including the

 violation of 18 U.S.C. § 793(e). United States v. Brown, 8:21-cr-348-SCB-SPF (M.D.

 Fl.), Doc. 357. In that case, a jury found Brown guilty of willfully retaining one

 “Secret” classified document that he had obtained while he was serving in the Army.



        6
           Scott Shane, He Took Home Documents to Catch Up on Work at the N.S.A. He Got 5½ Years in
 Prison., N.Y. TIMES (Sept. 25, 2018), https://www.nytimes.com/2018/09/25/us/politics/nghia-
 pho-nsa-prison-sentence.html.
        7
          Federal Bureau of Investigation (Mar. 31, 2006),
 https://archives.fbi.gov/archives/news/stories/2006/march/ford033106.


                                                 20
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   21 22
                                                                      of 49
                                                                         of 50
                                                                            PageID 139




 See id., Doc. 344 at 10-11. Brown was also convicted of several other offenses relating

 to his possession of unregistered firearms and two grenades. See id., Doc. 357 at 1.

 Although the facts of Brown’s case differ from the Defendant’s, the guidelines for the

 willful retention of classified information played a significant role in the calculation

 of the final advisory guideline range of 87 to 108 months’ imprisonment. See id.,

 Doc.354, 357.

        Finally, the “kinds of sentence and sentencing range established for” this

 offense, 18 U.S.C. § 3553(a)(4), further support a substantial term of imprisonment in

 this case. The statutory maximum penalty established by Congress for a violation of

 18 U.S.C. § 793(e) is ten years. A sentence of 78 months, at the low end of the

 advisory guidelines range, is well below that potential maximum sentence.

        e.    The Imposition of a Fine is Required and Warranted

        This Court must impose a fine unless the Defendant can demonstrate that he

 is unable to pay. See United States v. McGuinness, 451 F.3d 1302, 1307 (11th Cir.

 2006). The relevant statutory maximum fine is $250,000, and the guideline range is

 $25,000 to $250,000. Doc. 21 at ¶¶ 97, 99; 18 U.S.C. § 3571(b); USSG §5E1.2(c)(3).

 According to undisputed facts in the PSR, the Defendant has the ability to pay a fine.

 Doc. 21 at ¶ 89.

        The Defendant’s income and financial resources support imposition of a fine.

 His net worth is at least $537,393. See 18 U.S.C. § 3572(a)(1); USSG §5E1.2(d)(2).

 This estimate includes a conservative valuation of the Defendant’s real property,

 using the tax appraiser’s taxable value of $666,268. Doc. 21 at p. 16-17. According,

                                            21
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   22 23
                                                                      of 49
                                                                         of 50
                                                                            PageID 140




 to online real estate marketplace Zillow, however, the fair market value of the

 property may be closer to $835,000.8 The Defendant’s assets also include $30,000 in

 a personal savings account and $230,000 between two investment accounts—his

 Thrift Savings Plan account and an Individual Retirement Account. Id. In addition

 to real property, the Defendant has a vehicle, a motorcycle, and a motorhome; his

 wife has her own camper vehicle as well. Id. The Defendant receives over $12,000

 per month in retirement income. Id. And private counsel represents him in this case.

        In determining whether to impose a fine and the amount of the fine, one factor

 the Court shall consider is the expected cost to the government of any term of

 probation or term of imprisonment and term of supervised release imposed. USSG

 §5E1.2(d)(7) and 18 U.S.C. § 3572(a)(6). The Defendant’s guideline range of

 imprisonment is 78 to 97 months. Doc. 21 at ¶ 91. The cost to the government for

 imprisonment within this range would be between $287,664 and $357,736. See Doc.

 21 at ¶ 100.

        The facts here also demonstrate that imposing a fine within the guideline

 range would not unduly burden the Defendants’ dependents, based on his assets, net

 worth, and household income streams. See 18 U.S.C. § 3572(a)(2); USSG

 §5E1.2(d)(3). The Defendant is married and has one minor child. Doc. 21 at ¶ 63.




        8
           The United States accessed the Zillow website on April 28, 2003, and the fair market value
 reflected was $835,600. The link is not included here to protect the location of the Defendant’s
 residence.



                                                  22
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   23 24
                                                                      of 49
                                                                         of 50
                                                                            PageID 141




 His wife is employed and earns significant income of $12,000 per month. Id. at ¶¶ 63,

 88. 9

         The court shall also consider the need for the combined sentence to reflect the

 seriousness of the offense, to promote respect for the law, to provide just punishment,

 and to afford adequate deterrence. See USSG §5E1.2(d)(1). As set forth above, the

 relevant sentencing factors warrant a within-guidelines fine.

         Because the Defendant has the ability to pay, and considering the factors

 outlined in 18 U.S.C. § 3572, the Court should impose a fine. The United States

 requests that this Court order the Defendant pay a fine of at least $25,000. In light of

 his assets, the fine should be payable within 30 days of entry of the judgment.




         9
             Restitution is not a relevant factor in this case. See 18 U.S.C. § 3572(a)(4).




                                                       23
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   24 25
                                                                      of 49
                                                                         of 50
                                                                            PageID 142




                                    CONCLUSION

        For all the reasons set forth above, the United States respectfully requests that

 the Court sentence the Defendant to 78 months of imprisonment, to be followed by 3

 years of supervised release. The United States also requests that the Court impose a

 low-end guidelines-range fine of $25,000.


                                          Respectfully submitted,

                                          ROGER B. HANDBERG
                                          United States Attorney

                                          /s/ Cherie L. Krigsman
                                          Cherie L. Krigsman
                                          Assistant United States Attorney
                                          Florida Bar No. 0048764
                                          400 N. Tampa St., Ste. 3200
                                          Tampa, FL 33602-4798
                                          Telephone: (813) 274-6000
                                          Facsimile: (813) 274-6358
                                          E-mail: Cherie.Krigsman@usdoj.gov

                                          /s/ Evan N. Turgeon            _
                                          Evan N. Turgeon, Trial Attorney
                                          Counterintelligence and Export
                                          Control Section
                                          National Security Division
                                          U.S. Department of Justice




                                             24
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   25 26
                                                                      of 49
                                                                         of 50
                                                                            PageID 143



 U.S. v. Birchum                                Case No. 8:23-cr-32-KKM-TGW

                             CERTIFICATE OF SERVICE

        I hereby certify that on May 8, 2023, I electronically filed the foregoing with

 the Clerk of the Court by using the CM/ECF system which will send a notice of

 electronic filing to the following:

                                         /s/ Cherie L. Krigsman
                                         Cherie L. Krigsman
                                         Assistant United States Attorney
                                         Florida Bar No. 0048764
                                         400 N. Tampa St., Ste. 3200
                                         Tampa, FL 33602-4798
                                         Telephone: (813) 274-6000
                                         Facsimile: (813) 274-6358
                                         E-mail: Cherie.Krigsman@usdoj.gov




                                           25
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   26 27
                                                                      of 49
                                                                         of 50
                                                                            PageID 144




                            Exhibit 1
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   27 28
                                                                      of 49
                                                                         of 50
                                                                            PageID 145




                                                                                             SFN
                   SENSITIVE COMPARTMENTED INFORMATION NOl.\'DISCLOSURE AGREEMENT
               Ail Agreement Between                       .Mckve~Ji~~~:r.~i/7'                                        and the Untied States


     , 1. fnlerulini; to b~ li!ga!ly bound, J h~reby accept llie obligatiom: CX1TI\$i'i'led in this A~ent in consideration of my being granted
  access ro infommllon or ma1erial protected within .Spooial Aei:ess Prognims, hereinafter men-td t;, in the Agreement as Sensitive
  CofllJ)at1nltm!ed Infonnalion (SCI), I have been advised that SCI involves or derives from lntelligen\:C sources or methods and is classi-
  fied or is in pr-occss of a classification detemiina!ion under thc stan~s of E,:~ti\'.e Order 12958 or other 'Executive Order or s1a1Ue,
  f undc.-mll!ld and accept that by being granted 3CC$5 to SCI, spl!Cial confidence and ttu&t sbilll be placed in me by the United States
  Oovmim~t.                            .
        2,   I borcby a9knowledge that I have received a liffilrily indoctrination 1.Wnceming tltc nature Md protection of SCI, including tlte
   prol:Cdures to be' followed ill ascertmrung whether other persons to whom I confi:.mplatc disclosing this inf'oxmation or material bave·bcen
   approved access to it, and l u n ~ these procedures. .l undcntand that 1 may he required to Sif:'ll,1 51,1bsequent agreemenas upon
   beln& granted access 10 difi'mnt cntcgoriCII of SC1. l further under.stand that au my obligations under this agreement rontinue to exist
   whether or not I llf!l required to sign such subsequent agreements.
           3. ! havo been advised that the llllllUlhoriud disclosure, unauthorized retention, or negligent handling of SCI by me i::ould eause
   impMiblc injury fl> the Uruloo States or ~ used «. advantag~ by a foreign nation. I hereby a~ that f will never: divulge anylhing
    nwkcd as SCI or that I know to be SCI 10 anyone wlu, ia not authorized to receive it without prior Written iuthorizatiCln from the United
   Slates .Qi:;Vi;!ffllllCjit dcpro'ililent or agency {hereinafter Ot:pamnem ot Ageney) Ulat a111!1ori:wd my access io SCI, l understand, that it
   is my responsibility 111 co11w.ft with appropriate ·management authorititlll in the Ocpartmont or Agen¢y lhal last authorized my aceess to
   SCI, wb11thor or not r am still Ol!lployed by or asSO¢iated wllh that Dl:panmi:nt or Agency or a contractor th(:l'cof, in order to ensure that
   l know whether infofllllllion or material wit.hln my knowledge or control that I have reasou to believe might be SCI, or related to QT
   derived from SCI, is ~onsidmd by liUCh Depanm~nt or Agency to b11 SCI. r further . unt!CTSlalld that I am obligated by law
   !llld regUlalion not to disclosa aey cll\S$ified information or material In an unauthoriud fashion.
           4. IA oonsldetailon of bel11g pied a.~ss to scr and of being assigned or rclllined in a position c;f special coolidence and trn.~l
   fl!lllllring access to SCI, t heret>y agree to be submit for security review by the Department or Agency that last authorized liiY access 10 such
   mfom111tion or material, any writing or olber preparation in any Conn, including a work of fiction, that contains or purpons to contain any
   SC[ or description of aclivit!cs that produce or relate to $Cl or ihat f haw rc:ason to believe arc derilloo from SCJ, that I contemplate
   disclosing kt any person not 1111tbori:i:cd to hiwe access to SCI or that I hlwe prepared for public disclosure. I understand and agree Iha!
   my obligation to submit such preparations for re~ew applies during 1he course of my access lo SCI and ib.ereafter. ruid I ngree to make
   any req11lred wbmissions prior to discllssing the prepamion \villi, or showing it to, anyone who is not auiluirized to have access t¢ SCI.
   r further agree that l will l'lt'lt disclose the contents of such preparation with aeyonc who is not authl)l':lzed to have access to. SCI until I .have
   receiv=d writtM suthomation from il!e Department or Agency !hat Im antllOm:ed my ae¢e:$$ to SCI that :::uch disclo:ltlni ispennitted.
           $. I lllldcrstand that the ptll'flOse of the review described in pmgmph 4 is lO give the. United States a R:,tSOnablc oppor!Ul'iity to
   dctemilne whether the preparation submitted pU?$Ullllt to pnragniph 4 sets· forth any Set.. r flmher understand that the 0¢partmem or
   Agency to wfiloh l bav~ made a Jubmlnion will act 11p0n it,. coordinating within the In«:lligence Community when appropriate, and make a
   tespOHSe to me wilhifi a reasonable tinie, not to exceed 30 working days from date Qf recclpt.
           (i. l have b~ advised that any breach of this Agreement may iesult in my termination of my access to scr and tfflroval from 11
   p(l$.l!ion of speoial conti.aence and fntst requiring mreh acce$S, as well a!f the temufililion of my Cll!ployment or other relationships with
   any Ocpartmont or Agency that provides me with acc~s to SCI. in addition, I have been advised that any -unautl1orlzcd disclosure of SCI
   by ma may constitute violations of United S!al<:S eriminlll laws, including provisions of Sections 793, 794, 798, and 952, Title 18,
   United States Cede, and of Section 783(b), Title SO, United States Code. Noming in this Agreement constituti:s a waiver by the Unilad
   Slates otlhe right to pros~ me ftlr any 11timitory vi1llation.
           7, I u11detttand that the United States Government may seek lilly remedy available to it to enforce this Agreement including. but not
   limited to, applioatlon for a court order prohibiting diaclos11re of' information in breach of this Agreement. l have been advised tlmt the
   action can be bmupt agaillst me in any of the tewntl appropriate United StliUls District Courts· where tbe Uniled Stmes Government may
   elect to file tho action, Court costs and reasonable nttomey.<; fees inoutred by the United States Government may be assessed agaill$t me
   irI lose such action.
           S. I undl!t$Ullld that all information to which I may obtain access by sigumg this Agreement is now and will remain the property of
   the United States Government uniess and until Otherwise de!ennined by an appropriate offiei!!l w final roling of a wart of law. Subje<:t
   to such dctenninatlon, 1 do not now, oor wm J evu, i,ossel!$ any right, ilu~t. title, or cl!lim whatsoev~ to such infoimation. I agree
   thal I shail t'¢tunl all l!llltetials that nia.y have r-0me Into !tlY possession or tor which I am responslbln because of such ace~,, upon demand
   l,,y an authorized representative of the United States Govern.men! or upon the conclusion of my employment or other relationship with the
   United States Government entity provldir.g me acx;ess to such materials. If I do not mum sueh materials upon request, l unden,tand that Ibis
   may be a violation of Section 793, Tttle 1S, Uruted States Code.
          9. Unless and until l am released in writing by an imthoriz¢d rqiresent<1tive of the D¢p;,rtrinmt or Agency that last provided m(,!: with
   ru:cw to SCf, I understand that all conditions ®d obligations imposed on me by this Agreement apply during ihe time I am ~nled
   access to SC!, and at all tbne.1 th~.                                                                                              .
           1o. .Eaclt pl'OVision of this Agree!)lent is severable. If a court should find auy prnvision of this Agreement to be ll!lenfurceable, all
   other pl'GV.iSions: of this Agreement shall remain in full force and effect. This: Agreement concerns SCI and does not sot forth such other
 . conditions ind obligations not related to SCI as may 110w or hereafter pertain to my employment ,by or assignment or relationship with
   tl1e Department or Agency.                                                                                                       .
           I l, l have r1md this Agreement careflllly and my questions, if any, have been answered to my satisfaction. I acknowledge that. !he
   briefing officer bas made available Sections 793, 794, 79S and 95i of Title 18, Uniti:d Stat~ Code:, and· Sei;:don 783(b) of Title SO,
   United States Code, and Eltecutive Order 12958, in runended, so U1t1t I may read them at !his time, if l so eboose.

                              (Ri,J,l$ce$ l'Ofl'fl 4355
  FORM
  2~7
             4414             v,bJ;;I! is cbio!OI~ llrul
                              wlnnC!beu~)
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   28 29
                                                                      of 49
                                                                         of 50
                                                                            PageID 146




       12. 1 he-reby assign to the        Stat~-s Oovei:mnenl all righls, title and interes1.  ,ti roylllties, remunttati(lns, and emolumenlS
  11ml have rC!!Ulted, will result, or may result from MY diselosure, publiC{ltion, or n:vclalfon not consistent with the tenns of this
  Agreement.                        ·                ·
        13. Thest: restrictilll!S Ml consl$tent wiih llli.d do oot $1lpms~11 conflict with or otherwise alter the rolployee obligations rignts or liabilities
  m-eated by Bx~tivc Order 12958; Sootli>fi 1211 of Tide S, United Stat(,S Code (g1weming disclosures to con~): Section 1034
  of Title 10, United Slates Olde, as amcrulcd by the Mili.1ary Wbistlcbtowera Protcctlnn A~t (governing: disclororc$ to Congress by membffi
  pf tile Militaiy); Section 2302(b)(8) of Title S, Unite<$ States Cede, as amended by the Whisifebtower Proteotlo11 Aet (governing discloSllfc
  of illegaliiy, waste, fmud, abwlc, er pub!lc heallb or safety lhreats}; thil ln!elligcn~ ldcntitfos Protection Act of 1982 {SO USC 421 et s!ltj.)
  {govemtng di@cl9&11~ thal ~ld ~ c ®m1detllial Gtwemmenl age111$), .md tbo mm~ which protoot agent disclosure whieb may
  compromi.c national 1/ilCurity, inl11uding Section 641, 7?3, 794, 79$, and 952 of Title 18, United States Crute, 111ld Sfjltiol\ 4(b) of the
  Subveisive Activities ·Allt <>f l!i50 {SO li.S,C. 783(b)), l'ltc delinitiolls, n,quircmcntli, obligalio11s, rights, sanctions and llabifitii'S QTI:af;id
  by said £xeculi11e Order and llmed iitalutes are IDco;po!illcd into Ibis AIJI'ffil!ent and ilre¢0ntmlling.
        f 4. Thiil Agreoment.shall l;,~ intcqm:lecl1tlllicr and in ooni<mnanecwith the law otthe United swes.
        lS. f mko !his A g ~ will!flut any mcnw ~ o n Qt purpose ot~J.ISi.on.




  The ex~ution <if tills Agrtement wns witnC1Jsed by the                                     -~lf of the United Stites Govemm~t as a prior
  condition of a.com to SQl!sitlvc Compartm~tcd Info

  WITNSSS and ACCEPTANCE:




          SECURITY BRIEFING / DE                                                EFING ACKNOWLEDGMENT

            G                     HCS




             BRIEF                       ~tit:; $1.        Azi ,.,o Y                     DEBRIEF                     DATE:
             i h.ereby aeknoiMedge that I was briefed on the above                        Having been reminded of my continuing oblfgailon to
             SCI Special ACCS$S Program(s):                                               comply with !he tefms ofthis Agreement, I hereby
                                                                                          acknowledge !hat f was debriefed on the above
                                                                                          SCI Special Access Program($):




                                                                                                     Signl{if1,1re of lndMdue/ Debrle~s_(j
                                                                     e date was ln accordance with the relevant SCI procedures,


                                                                                                        SSN (Sae Notice BE,Jow}

                                                                                          HQ USSOCOM,MACDILLA.F.B, FL
                                                                                               Organizalion {Name and Address)

  NOTICE:      The Privacy Act, 5 U.5.C. 522a, requires              at fedeti!-1 agenc;les Inform lndivlduals, at lhe time information ls sQlit;ited
  froM them, whether the dJsctosura i$ manda!O,y or volunta,y, by what authority sucm Information ls solicited, aml what uses
  1Mll be made <:if the lnformatlon. You are hereby advl$ed that authority for sollcltlng your Social Security Account Number ($SN)
  Is ExeCi.Jtlve Order 9397. Your S$N wm be used to Identify you precisely when ft is necessary to 1) certify that you have access
  to the Information Indicated above, 2) determine that your access to the lnformaUon has terminated, or 3} eerlify that
  you have witnessed a briefing or debriefing.             Although disclosure of yolJf SSN Is ·not mandatory, your failure to do so may
  impede suci'i certifications or determinafions.
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   29 30
                                                                      of 49
                                                                         of 50
                                                                            PageID 147




                            -~ ·brl~fed·on.ihi~: d_atil ® th~· fi>llowfog S~tiw Compa.-ti:n~d-lirfu~imoii ·
                            ···iii1Hfuli~hrt.1ra:C:>f\lY.)!
                                           .            .
                                                            · ·,.    ·         -
                                                                                       ·.· - ····     ··
 Case 8:23-cr-00032-KKM-TGW
          Case 1:23-cr-10159-IT Document
                                 Document24
                                          77-9Filed
                                                 Filed
                                                    05/08/23
                                                       07/17/23Page
                                                                 Page
                                                                    30 31
                                                                       of 49
                                                                          of 50
                                                                             PageID 148




                       SENSiTIVE COMPARTMENTED INFORMATION NONDISCLOSURE STATEMENT

                                                 PRIVACY ACT STATEMENT
   Al.ftHQB1't--Y~                   EO 9397, November 1943 (SSN).
   PRINCIPAL PURPOSE(S): The lnformatron contained herein wur be used to precisely identify Individuals when it
                         ls necessary to certify their access to sensltlve compartmented information,
   ROUTINE USE(S):                   Btanket routine uses, as published by Defense Intelligence Agency In the Federal
                                     Register.
   DISCLOSURE:                       Voluntary; however, failure to provide requested Information may result in <lelaylng
                                     the processing of your certification.

                                                                     SECTION A
        ·An Agreement B~tween <:i2.o\s..v6: . ~i~ ; \J~ ,+:r ·'-=·                                               and the United States,
                        . .. .            .;t:~f(fJtJ(iJf.~{jmg}, J .

       t. Intendmg to be legally bound, I hereby accept ihe obligatioJ.$           4, (Conll1wcd) hav~ reason to believe are derived from SCI,
 eontaincd in this Agreement ill consideration of my bliing granted mat I contemplate disctnsing 10 any person nm aulhorize<I ,o have
 access m information or material pro1ected ,within Speoial Access· access to SCI or that l have prepared f1lr public disclosure. l
 Program,q, liereinafter referred to ln this Agrcemcm as Sensitive understand and agree that my obligation 10 submit such preparations
 Compartmenwd faformation (SCl), f have been a1Msed that scr f'or review applies during the course of my access to SCI and
 in.volvcs or derives from imelligcnc<:c sources or melhods and. ifi . ~reaft~, and I agree to make any required ~'Ubmisskms prior to
 classlfled or in lite process of a olassiflcadou determination under the discussing the preparation with, or showing i1 m, ai-.yone wl1o is not
 standards of BKecurlve Order 12356 or oth~r BxccuHve order or authoriz¢d to have access to SCI, ·I f11tt,ber agree that I will not
 s1aru1e, I uuderstnnd and accept mat by being granted access to SCI, disclose t!w contems of such preparation 10 any person rull
•special confidence and t!'Ulll shall be plaeed in me by 1he United State!\ authori.ed to hn.ve access to SCI ·until r have received wrinen
 Goveramem.                                                                  auihorization·from tile Oeparnnen~ or Agemw ,hat last authorized
                                                                             my access 10 SCf 1ilat su~h disclosure is permitted,
       2, l hereby acknowledge that r have received a sccurhy
 lndocirinatlon concerning 1ha nature ancl protection of SCI, including            S. • I unders1and·1ha1 the purpose of 1he review described in
 the prooedurcs to be rollowecl In ascertaining whether othtr p~rsons to paragraph 4 is to give the United StateS a reasonable opportunizy to
 whom ? i:ontemplate dlwloslng dris- Information have be(ln approved determine whether ,he preparation submitted pursuant to paragraph
 for iccess ii> It, and l undetstai1d these procedures. I undersiand th111 J 4 set forth any SCI. J furtller undemand mat the Department or
 may be required to sign subsequent agr~nien,s upon being granted. Agency to which I !lave made a submission will act upon them,
 access to different c:negories or SCI. ! further understand met all my coordinating within the lmell!gence Community when appropriate,
 obligations under this Agreement eon1inue to exist whether or not J and make a response 10 me \\'.,ithin a reasonable time, not to exceed
 am required 10 $ign such wbscquem agreemtmw.                                30 working day~ from daie of receipt.
      3. ! have been advlseil that unamhorized disclosure, unauthorized              6, J have been advised tlia1 any breach of this Agreement may
 retention. or negligent handling of SCI ~y mo could cause irreparable       retllllt in 1he tormimnion of my access to SCI and removal from n
 ifljury 10 tile United States or be used to advamage l:iy a foreign         position of special confidence and trust requiring such access, llS
 nation. I hereby igree !bat I will never divulge anything marked as         well ~ Ille terml11a1lo11 of my employment or other relalioriibips
 SCI or mat I know to l?e SCI to ;myone who Is not aumorized to              willl any Deparonem or Agency tllat provides me with access 10
 rceelve it without prior written author!Zllt!on from the United States      SCI, In addition, I have b~en advised 1hat any unauthorlmd
 Governmen1 departmelU or agency (hereinafter Department or                  disclosure or SCI by me may constitute violations of United States
 Agency) that lasi auih11~~d my access to SCI. I understand that ii is       crimilllil laws, lncludlng me provisions of Sections 793, 794, 798,
 my responsibility Io consuJi with 11pproprlate management au1horilie.s      and 952, Title lS, Uniled Slates Cmle, and of Section 7$3(b), Tille
 In the Department or Agency. that last authorized my aooess to scr.         50, United Swtes Code, Nothing in ihls Agreement. constitutes a
 whclher or not J am still employed by or associated with that               waiver by the United Stales of the right 10 prosecute me for 1u1y
 Department or Agency or a eontrac!Or thereof, in orcler to ensure that      siatutory violation.
 J know whc1hcr information or material within my knowledge or
 comrol that I hav~ reason to believe might be SCI. or related to or                i. t under.stand mat ,he United States Oowmmer.i may seek
 derived from SCI; is considered by such Depanmimt or Agency- to he          any remedy available ro i! to tmiorce this Agreement, including. but
 SCL i further understand that I am also obligated by law and                no1 limited to, application fot a court order proh\biting disclosure of
 regulation n01 to diselose any ch1ssifled information or material in an     mforma!ion in breach of this Agreement. I ~ave boon advised that
 unauthoriMd fashion.                                                        the ae1fon can he . brought against me in any of the several
                                                                             appropriate Onlred States District Courts where the United States
      4. fa consideration· of hfling granted aOCl:SS to ·sci and of be111g   Government may elect m me the action. Court costs and r¢aS01111ble
 a&slgncd or reiained in a position of specfar confidenct and trust          auorneys' fees inc,urred by the United Stales Goveniment may be
 requiring acces1;' 10 SCI, [ hereby agree 10 submh for security review      assessed against me if I lose such action.
 by the Depimmcmt or Agency tha1 last llllthorized my access to such
 infom111ikin or material, ,any writing or other prepara1ion in my form,           &. l understand that all .information 10 which I may obtain
 ineluding a work of fiction, that oonmins or purports to comaln any         access by signing chis Agreemem is now and will remain the                I
 SGf or description of activities that product1 or relate to SC! or that 1   property of the Uni1ed S1ates Government unless and until otherwise
                                                                              determined by an appropriate official or final ruling .of a

00 FORM 1847•1, DEC 91 (EG)                            PREVIOUS EDITIONS ARE OBSOLETE,
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   31 32
                                                                      of 49
                                                                         of 50
                                                                            PageID 149




     8, (Conflnucd) court of Jaw. Subject 10 sueh deiermination, l           I l. (Cont111ued} (governing disclosures of illegality, waste, fraud,
dn not now, nor will t ever, Pl)llte!lll any right, ilmm:st, title or    abuSt! or public health or safety threat$); the Intclllgen~e [dentiii~s
claim whatsoever to such lnforma1!on. l asree that I sba!l rerum l:\11   Protection Act of 1982 {SO USC 421 et seq.) (governing disclosures
maieriais 1hat may have come Imo iny possession ot for which I am        that oould expose confidential Government agents), and the statutes
responsible because of such ac~e$S, upon demand by an authori~           which protect against disclosure 1hat may compromise the national
representative Qf the United Star.ea Government or upon the              s~urity, Including See1l011 641, 793, 794, 798, and 952 of Title- l8,
conclusfon of my employment or othi:r relarionship with the United       United States Code, :1:111;! Section 4(b) of the Subversive Activities Ac!
States Government entity providing me access co such materials. If
I do nOl return such materials upon request, I unde~tand this may        of 1950 (SO USC Secdcm 1a3(b)). The definitioo,~. requlremenm,
be a vil)fation of Section '193, Tille lS, United Slates Code,           oblil!f!l.fons, rights, sancticms and liabilities created by said Executive
                                                                         Order and lis1ed s1am1cs are incorporated into this agreement and are
      9. Untess and until I am released In wrhlng by an aulhoriud        OO!llrOllil\g,
rcprescntativ~ or the Departntcnt or Agency \ful, last p~yided mi:
with 11c~ss 10 SCI, I unt!erslllnd tl!ul all tile condmons and               rt l have read chis Agreement carefully and my questions,· i( any,
obllB?tlons !m~i:d upon me by this Agreement apply during the            have been answered to my satisfac1iQn. I acknowledge 1hat the
time I run granted access to SCI, and a1 all timet thereafter,           brh!fmg officer has madi: available Sections 793, 794, 798, and 952 of
       10. Eaeh provision of Ibis Agreemem is severable, If a e-Oilrt    Title IS, United States Code, and Sectio·n 783(b) of Title 50, United
should find any provision of this Agreement 10 be unenforceable, all     States Code, and Exec111lve Order 12356, -as amended, so tha1 I may
oilier provis!o~ of lh!s Agreement shall remllln in full fon;e and       read ihem at this time, if I so choose.
effect. This Agreement concerns SCI ~ml ·doe~ nOI set forth sucll
 other conditions :md obligations not rclll!ed to scr as may now or          lJ. l hereby assign to the United Sta1es Government all rights, title
·11ercafter_ pemln to my employment by or iiss!gnment or relationship    and interest, snd all royallles, remunerations, and ~olumems that
 with the Department or Ageney.                                           have rt,$ul1ed, will result, or may result from 2ny disclosure,
                                                                          publication, or riwelal!on not consistent with the terms of this
        ! 1. These restrlctlons are consl$tent with ~nd do not supergde · Agreemel'lr,
 eont1lc1 wlm or otherwise alter the employee obllgailons. rights, or
 liabiliiles created by !xecutivc Order J,:?.356: Section 71!1 of Tille     14. This Agreemem shall be interpreted under and in conformance
 s, Lfnltr:d States Code (&overnlng disclosure1, to Congtess); Section   with the laws of the United States,
  103.4 of Tille 10, United States Code, as amended by 1h11 MU11acy
  W!iistleblower- Protection Act (governing- disclosure 10 Congress by
, members. of the milltary); Section 2302{1>)(8) of Title S, U.nltei:i      15. I ml'lke !hi$ Agreement without any mental reserva1ion or
  States Code, as amended by me Whistld>lower Protection· Act            purpose of evasion.
                    : ~~liMa-.iimt, First, Middle lnitia.                                                               19. BILLET NO. (Optional)
                                            t....
~~~~;. ! ~-.i:

  Sc~o :r.:t.'i R .
                                      FOR USE BY MII.ITARY AND GOVERNMENT CIVILIAN PERSONNEL

                     f                                             SECTiON-B
       The execution of this Agreement was witnessed by the undersigned, who accepted il mfl:iehalf of the United States
    Gove . em asia prior condition of access to Sensitive Compartmented lnti:>tmation.
23. TYPED R PRIN ED N         ast, Ft t, Mlddki tnllial)    ·- - 24. ORGANIZATION
     KU     \ NA CY L.         HU Ar,J. JOHN L,                      HQ USSOCOM



                                                        TORS/CONSUi.TANTSJNON•GOVERNMENT PERSONNEi.
                                                                                                '
                                                                   S£CTiONC
        The execution of this A reeme!lt was witnes§ed b . the undersigned.
2?, TVPEO OR PRINTED NAME (I.est, Ffrst, Middle lnlllal).                 28. ORGANIZATION

.2&, SIGNATURE                                                                                                          30. D-ATE SIGNEO
                                                                                                                            {VYMMDD)


                                                                  SECTION D
    ·   This A~emeut was. accepted by the undersigned on behalf of the United States Government as a prior condition of access
    to Sensitive Compartmented rnrormation.                  ·                                        .             .                            .
31, TYPED OR PRINTED NAME (t.11st, First. Midd/f fnltlitlJ                32, ORGANIZATIOn

33, SIGNATURE                                                                                                           $4. OATE SIGNED
                                                                                                                            (YYMMDDJ
            Case 8:23-cr-00032-KKM-TGW
                     Case 1:23-cr-10159-IT Document
                                            Document24
                                                     77-9Filed
                                                            Filed
                                                               05/08/23
                                                                  07/17/23Page
                                                                            Page
                                                                               32 33
                                                                                  of 49
                                                                                     of 50
                                                                                        PageID 150




______________ ··-------------------------------------
                                                \,_...,

                                       CLAS:S!FIEL; INFORMATION NONDISCLOSURE AGREEMENT
------------....-,-,-:.-- ,-·-
                    A1C                                                        ~38 (?.CTS
Ari A!,lfeeme:nt Between __ jiL ~ 't ...t· .: . ~~---~-\?... ~\ •\·-t•~~!t':e.? .... __ -···--.. and the United States
                                                              ,.\n•mi•Mw <•r 1•~•1wd>                                                              .

1. lnt'lnrlil\!l t\} oo legally bomid. I hereby acce~lt ,h~ <','li:•i,:iuon~ cc.•~•,1i11oc1 in this ~\gnmment in consideration of my being granted access to clal!Sifiod
i11formc1t•on. A~ uSlld in this Agrm,inenl, ctmisifiod inlor•oni. -.,, is hilt. • · ·io11 thut is ni1hor cl:ifisiUr.d or clllS&ifinblo under the standards of Executive Orrlur
12356, 01 ur.cbr any other E'.<eculiVll ort\•ir L)1 sll'IUIO Ulnl, ·•hib,.,. d,1; uoaut'•,;rit.ed disclosure ul information in the iiHorest ~,f natlonal security, I
understilnd .,,1,.l -.:11:~pt that by bo!nu 9rants1LI a~r.tis~ 10 <"lassifl,:-: ,nfcirmati<m· sp1!eial c,mfidencn and trust shall be pl:iced in me by the United States
Gtwern111l'tnt.                 .                                                                                                            ·
2. I ht_lrt'bY il<: ►',•nwledge that I have rucoiv1.ld , security indoctrimllio ~•·•,1•ornlng the nature anci protection of classified information, including the pro•
cedurt.'S to l-e follv111ed in ascertainina whether Dtho1 · pursons to v~hon, ' ~- ~ :•plate disclosino this iotorrnation have been approved for access to It, arid
thnt I 1.Jnc.il'1"Stand tl1t,ze proced•.1.-.,~.

3. I havo lA:,•n advi~C'J and am aware that direct 'lr indimcl unau!l·orizmi dlsclosuro, unmm,_ :;-P.f.i retontlon, or negtigent handling or classttf<l(:I i11totr~"-
tio11 by mn could c-:iu:e irr,,~;arabte injury to thn •. •nit11d States 01 could bo used to advantage by a ', .,,iqn nation.! hereby agree tl111t I will never divulge
such information unlei,'11 I 11,>ve officially varified 1 ,,~t tho reciplr,nt has I.men proporly authorizCld by tn,,'J,m~ States Gove1 nment to receive itor I have
btlllu given prior writt1.•1, :1otic.o or n\Jthorl:rnlion fi,1m lhe U1\1too Status Go1,ormncn1 Department o~ Agency (hP.reinafter Department or Agency) last
gr,mtil,g n1e a securitv ti• a:ance {flat such disclos111 o is permitted. I further understand that I am obligated 10 comply with, laws and regulations that
prohibit lllo unauthoriZild i")isc1.~s11rc of i:lasslfiad. infor:•11ation,
4. I hava betin 'ldvised and ;im ::1v1a1.- lhal any breach ol this A9romnun\ may result in the termination of any security cle11rances I hold: removal from any
11osition of s1lOC:a1 cot1fidenco an,1 1rus1 requiring suuh o-'oarancos: and the termination of my employment ol'"alher relationships with the Departments or
Atten1.:ies lhat granted r•iy sooo1 1tY .:l<1nra11c:P. or c:learancE;s, In addition, I have been advised and am aware that any unauthorized disclosure of classified
information by m.: mdy constitute a ,·i,>lr.tion or vlolc1tio:1s of United States criminal laws, including tho provisions of Sections 641, 793, 794, 798, and
952, Title 18, United States Code, the p1ovisi,ms of Sectlc.·n 783(b), Tille 50, Unitod S1atas Code,and the provlshms of the lntelllgence Identities Protec•
lion Act of 1982. I rcco,1nize t1lat l'lt1thins in this Agrer.nmnt constitrnes a waivnr by the United States of the right to prosecute me for any statutory
violation.               ·
5. I hereby assign m the Unitetl States Government all roya'ties, riimunerations, and emoluments that have resulted, will result or may result from any
disclosure, publil,ahon, or revelation not consistent will\ the te.'1ns of this Agreement.
6. I understand t11at the United Stntos Govarnmont may sc:ek a. IV rmnl;'l(ty availabl!¼ to it to·1mforct, tl\is Aoreement including, but not limited to, appllca•
tion for ii court order prohibiting 1lisclosure of informalir;,n in bre,id1 ot this Agrn0111ent.                                            ·
7. I tillderstand that all information to which I 111ay obtain •,~r:es.\ by siorii1111 this Agroement is now and will forever remain the property ot the United
Stati1s Government. I do not •1ow, nor ''litl I ever, possess any rigl\t, interest, title; or claim whatsoaver to such information. I agree that I shall return all
materials which have. or may have. c..1tnc in to my possession ~,, for VJt.1ch I am responsible because of· such access, upon demand by an authori2:ed repre-
sentative of the Uni1ed States Governmmu or upon the conclt1$l,,n .1: rHy employment or other relationship w.ith the Department or Agency that last
granted me a security clearance. If I do oot return such materials uJ.)or· Hiqu,'lSt, t understand that this may-be a viotaiion of Section 793, Title 18, Unlted
States Code, a United States criminal law.                      .                                        .                  ·                         :
8, Unless a'ld until I am released in writing by an authorized rcprcsent,1llW of the United Stat~$ Go~err.ment, I understand that all -conditions ~nd:obliga-
tions· imposei:I upon me by this Agreement apply during the ti•ne I am ora,1 t,·-d acces~ lo classified Information, and it all times thereafter,
9, Each pro~ision of this Agrnernent is severable. If a court should !ind a1''.• tJrn,:smn of thhgreement
Agreement.shall remain in full force and effact,
                                                                                                                              le be unenforceablo,all
                                                                                                                                       '
                                                                                                                                                      otherprovision·s of this

10. I have read this Agreement carefully and rny qui•slion&. ii MY, have boor. ,111swerlld to my satisfaction. I acknowledge that the briefing officer has
made av.iilable to me Sections 641, 793, 704, 798,.ilnd 9H2 of Title 18, Unit~tt.States Code, Section 783(b) of Title 50, United States Code, the lntelli•
!]Once IC1ontities Proteclion Act ol 1982, and F;,·l!oulive Or<ter 12356, so that I m.1y read them at this time, lf I so choose,
11. I ma~e this Agreement without manta! reservation or.purpose of evasion.
s'"'1""'a""N~A"'T"'ll""Rce,£::---· -· ----·- · - - - -- ... ·-···- --- ................   ...
                                                                                     -·· ,_-
                                                                                                                                                SOCIAL SECURiTY NO, (See
                                                                                                                                                no tlce bt'low J




                                                              ~·:,

Th(:' 1::xect1tion of this Anieement was·witnessed by the und0rsianed, who, on behalf of the United States Govern-
ment, uyrnecl 10 its tnrrns uncl accopted it as a prior condition of authorizing ,.1i:::mss to classified information.

WITNESS AND ACCEPTANCE:
siG°NAfi:jmt         -                                ,, "

.'':-_·~hndt.J1.z-A-;_~:►.i:h
oROANIZAi'IUN
                                                             c.,(41,;:,)_.,,_ ...

 , ?3s;
      ,n,,
Nc.)TICC•
           ~23v-~~---·- - ~ - , ~ - - - - · - - - - -
                         ptfuacy A--., 1 U,S,C, ~52;:,, rcqulros 111~1 toaor~I a!Nncles tnfonr, lndlvlc!Unls, at "the time lnfotmal!on Is solh:ltad from thorn, whetller Iha
dts~lusutll ls 111.inr!~lory or , nl11ntary, bY wllnl author~ti' sucll intor1••1iltl011 Is sollclt~d. nnd what usos wlll ba mado of tho lnfom111tlon. You are hereby
adv,wd that aut11011ty for ~••!i-:ilinq your Social Secuoty Account Nv•11bor ,~SN) Is Executive Order 9397, You• SSN will bo usod to Identify you pre-
elsi,1y whnn ii •~ noce55,.,v • 11 certifv th.>t vn'f h;,uf'? acceH to the ;....<,;;,w1ar,,11 indlc.iled a11ove or 2) determine that your access to tile jnformallon
 1i,J11.,1J ~uu 1111 s t\lth1,Udh--• ,,1-h.r, .,·:•, u1:ic.m1:>ur'CI "' y,nn .,1->1 • tJ : u+ah••.u,~or;, ••·nu ra11ure to do so rnay hnpodo the processing: cf suet\ cert fJeaUons. or


                                                                             --- -------·  ... ------------------------
r<r, 1et mh, M1,,w.

                                                                                  lll9•Hll                  STANDARD FORM 189                                                  (8•83)
                                                                                                                                                l're$1ltlbad by IJSA/1S00'
                                                                                                                                                32CFR 2003l E,O, 12366
               Case 8:23-cr-00032-KKM-TGW
                        Case 1:23-cr-10159-IT Document
                                               Document24
                                                        77-9Filed
                                                               Filed
                                                                  05/08/23
                                                                     07/17/23Page
                                                                               Page
                                                                                  33 34
                                                                                     of 49
                                                                                        of 50
                                                                                           PageID 151




                                    CLASSIFIED INFORMATIQ~ NONDISCLOSURE AGREEMENT
 AN ~GREEMENT BETWEEN                              &\ p. t?l-\:\lrn' ;-:~'6~1" 1-,                              AND THE· UNITED STATES
                                                      (Name of Individual - Printed or typed)
                                               .        . . -·-- '    .     .        : ;. .     ! '.,.         ........~
    1. Intending to be legally bound, I hereby'accept lh~ ~blig~tions contiine-d;in''th'is: Agreement·in,consid~~tiqn of .my··beirif"
. granted access to cl~ss~ed, iQfofinat:ie~. As ·us~~ ix\.~ ,..~sr~~~ent, 'classified informatii>~-is l!l!11'k~d o.z<u~cJl'k~:~!" <;!a~sified.
  information,.including oral. eommllnicata.ons, that·JS-elass1fred-under 1:he standards of Executive Order 12356·,· orunder·any other.
  Executive order or statute that prohibits. the unauthorized clisc.losµre -of information in ·the interest of national security; and
  unclassified information that meets the ~ndaids for _classification and is in the process of a classification determination as
  provided in' Sections 1.1 and 1.2(e) of Executive Order 12356, or yqder ap.y 0th.et ,Exe,cqtive order or statute that requires
  protection for such information in the interest of national security . .I -Onq.ers:tan.4 .a.'nd ac~~pt that by betng granted access to
   classified information, special confidence and trust sh~l be p~~d.~ m~.•by th~-:. V~_Feq, ~~tes Government.
    2. I hereby acknowledg~ thai I ha'[e re~.ejy~d a,.sec~tY,.Jnd6cf.tin~tjop conci~g the.nay.ure and protec~on of clas~ified
  informatiQn, including the.pt9cedureJ~to,be faJlowed in j(S~~~ail141g'whl1)t,ber oth~~ l'E!r~o~ .tQ:who.m I contemplate disclosing this
  information have been approved for access to it, and that I understand· thesif•proce1:iures. •
    3. I have been advised that the unauthorized disclosure, unauthorized retention, or negligent handling of classified information
  by me could cause aamage or irreparable injury to the United States or could be used to advantage by a foreign nation. l hereby
  agree that I will never divulge classified information .to anyone unless: (a) I have officially verified that the recipient has been
  properly authorized by the United States Government to receive it; or (b) l have been given prior written notice of authorization
  from the United States Government Department or Agency (hereinafter Department ·or Agency) responsible for the
   cJassification of the information or la~t. granting me a security clearance that such di~closure is permitted. I under$tand. that if
   I am uncertain about the classification status of information, I am required to confirm from an authorized official that the
   information is unclassified before I may disclose !_t, except to a person as provided in (a) or (lj) 1 above. l further understand that
   I am obligated to compl~ with: laws and regul~tions that prohib~t ~ 7 unauthorized disclosure. of classified•info~mation. ·
    4, I have been advised that any,•breach of this Agreement may result m·the termination of any security ·clearances I hold;
   removal from·any position of£eci~l.confi~ence:aµd trust requiring such clearances; or the termination of my employment or
   other relationships with the· Departm,en~ ·or Agenciel? that granted my .securi~y glearance or clearance$, I~ addition, I !;lave been
   advised that any unauthorlze~ disclosure of clas_siµed information by me·may copstitute:a violation,.-or violations. ·of United
   States criminal laws. i_ncluding the provisions of Sections 64;1.., 793, 794, 798,. and *952, Title 18, United States Code,
   *the provisions of Section 783(b), Title SO, United States Code; and the, P.~ovisions of the Intelligence Identities Protection Act
   of 1982, I recognize that nothing in this' Agreement constitutes a waiver by .tlie United States of the right to prosecute me for any
   statutory violatiQn.                            .               .                    · . ·'. · · · .• 1 · . ·       •

    s. I her~by assign to the United States Government a.II royalties, remunerations, and emoluments'that have resulted, will result
   or may    result from any disclosure, publication, or revelation of classified information not consistent with the terms of this
  Agteement.                            ·
    6. I understand that the United States Government may seek any remedy available to it to enforce this Agreement including,
  but not limited to, application for a court order prohibj~g dis.closure of information in breach of this Agreement.
    7. I understand that all classified information to which I have access- or• may obtain access by signing this Agreement is now and
   will remain the property of, or under the control of the United States Gove~ent unless and until otherwise determined by an
   authorized official or final ruling of a court of law. I agree that I shall return aµ classified materials which have, or may come into
   my possession or for which I am responsible because of such access: (a) upon demand by an authorized represe:mative of the
   United States Government; (b) upon the conclusion pf my employment or other relationship with the Department or Agency
  that last granted me a security clearance or that provided me access to classified information; or (c) upon the conclusion of my
   employment or other relationship that requires access to classified information. If I do not return such materials upon request, ·
   I understand that this may be a violation of Section 793,. Title 18, United States Code, a United States criminal law.
    8. Unless and until I am released in writing by an authorized representative of the United Statt;lS Government, I understand·
   that all conditions and obligations imposed upon me by. this Agree:qient apply during the time I am granted access to classified
   information, and at all times thereaffer.          ·
 . 9. Each provision of this Agreement is severable. If a court should find any provision of this Agreement to be unenforceable,·
   all other provisions of this Agreement shall remain in fµll force and effect.                                 ..
   10. These restrictions are consistent with and do not super~~de, confl.ict with or othen$e alter. the emp~pyee obligations, rights
   or liabilities created by Executive Order 12356: Section-7211 of Title 5, United States Code (governing disclosures to Congress);
  Section 1034 of Title 10, United States Code, as amended by the Military Whistleblower :Protection Act (governing disclosure
  to Congress by members of the military) i Section 2302(b) (8) of Title s. United States· Code, as amended by the Whistleblower
   Protection Act (governing disclosures of illegality, waste, fraud, abuse or public health or safety threats): the Intelligence
   Identities Protection Act of 1982 (SO U,S.C. 421 et seq.) (governing disclosures. that could expose'confidential Government
  agents). and the statutes which protect against disclosl.µ'e that may compromise the ~ational. security, including Sections 641,
  793, 794, 798, and 952 of Title 18, ·United States Code, and Section 4(b) of the Subversive Activities Act of'1950 (50 U.S.C,
  Section 783(b)). The definitions, requiremen~. obligations, rights, sanctions and-liabilities created by ·said Executive-Order and
  listed statutes are incozporated lnto this Agreement and are controlling.                                           _ .. : . . . .
                                                               · ( Continue on reverse.)·                                       ... .,.._. ..: .....
 .NSN 7540-1)1-280•5499                                                   312-102
·1>rcvJ011s edition ne>t 111able.
                                                                                                . · STANDARD FOitM 312 (REV, 1-91)
                                                                                                         PrC$Qribec! by GSA/1S00
              Case 8:23-cr-00032-KKM-TGW
                       Case 1:23-cr-10159-IT Document
                                              Document24
                                                       77-9Filed
                                                              Filed
                                                                 05/08/23
                                                                    07/17/23Page
                                                                              Page
                                                                                 34 35
                                                                                    of 49
                                                                                       of 50
                                                                                          PageID 152




11. I have read this Agreement carefully and my questions, if any, have been answered. I acknowledge that the briefing officer
has made available to me the Executive Order and statutes· refer~nced in this Agreement and its implementing regulation
(32 CFR Section 2003.20) so that I may read them at this time, ·n I so choose.




ORGANIZATION (IF CONTRAcrOR, LICENSEE, GRANTEE OR AGENT, PROVIDE:
            ('Jype or print)                .




                                     WITNESS                                                                                 ACCEPTANC~
THE EXECUTION OF THIS AGREEMENT WAS WITNESSED'                                                THE UNDERSIGNED ACCEPTED THIS AGREEMENT ON




                                                                                                .~£,~
BY THE UNDERSIGNED,                                                                           BEHALF OF THE UNITED STATES GOVERNMENT.
SIGNA'IURE                                                           DATE:                   SlGNAtmtE                                                        DATE



 ~$\I(        ~ ~ Jr:                                                  ~M-~l:\q
                                                                                             NAME AND A:!>D'RESS (Type or prtnt)
                                                                                                                                                                ~.... f'y
NAMS AND ADDRESS (Typo or print)


          .   .    .. ..... -          ..            ..      ...........                                           ..                .. .   . . ..     . .

        . ·RONALD HAIUUS Il., SSGT, USAF                                                                  MARK.A. MIN1BAR. MSGT, USAF
           43 IS/SF Assistant Unit Security Manager                                                       48 IS/SF Unit Security Manager
           5793 C. ST, BEALE AFB. CA, 95903~6367                                                          5793 C. ST. B:SALB AFB. CA. 95903..6367
                                                                                                                                             ,
           BUlLDING 23260                                                                                 BUILDING 23260
                                      . . . . . - ...                                                                             ........ - .
                                                                                                          ·--•-.   . .   ...                                 .....   0~




                                                SECURITY DEBRIEFING ACKNOWLEDGEMENT
I reaffirm that the .provisions of the espionage laws, other federal criminal laws and. executive orders applicable to the safeguarding of classified
information have been made available to me; that I have returned all classified information in my cllcSI0dy; that l will not communicate or transmit•
classified information to any unauthorized person or organization; that I will promptly report 10 the Federal Bureau of lnvestigatlon any attempt by an
unauthorized person to solicit classified information, and 1hat I (have) (have not) (strike out inappropriate word o; wo:rds) :received a security
debriefing.
SIGNATURE OF EMPLOY£l?                                                                                                                                        DATE.




NA.'dB OF WITNESS C'lli'" or print)                                                       SIGNATtlllE: OF WITNESS




~ The Privacy Act, S U,S,C, 552a, requires that federal agencies lnforin h!dividuals, at the time lutormatlon la oclicltcd from them, whether lhc dlsclosun, Is mandatorY
or vol~nla?l/, by what authority such lnf0rmatio11 iJs acll<:itcd, and what ~•s WIii be made of the Information. You are hereby advised that a11thorlty for sollcitll'lg your SGClal
S,:curity Account Number (SSN) ~ ExcoutiYo Order 9397, Your SSN will be us=d to ldcntlr),' you prccl,ely when It Is ncc=••ary lo 1) cort!ry that 1{0U have n~coss to tho
!11formatton. indicated above or Z) determine that your access to the illformat!on lndlcatccl has terminated, Alth0ugh disclosure of your SSl'f ig not mandatory, your failure to do
•o m•Y ltapode tho proc:esdng or sueh cortlflc:atlons or determination:, or ponibly r~sult ill the denial of your being granted accen to classified lnfol'tl'.latlon,

                               • NOT APPLICABLE TO NON-GOVERNMENT.PERSONNEL SIGNING TH[S AGREEMENT.
                                                                                                                STANDARD FORM 312 BACK (REV. 1-91)
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   35 36
                                                                      of 49
                                                                         of 50
                                                                            PageID 153




                            Exhibit 2
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   36 37
                                                                      of 49
                                                                         of 50
                                                                            PageID 154




                            i                                          T'
       INDIVIDUAL REPORTING RESPONSIBILITIES

  In accordance with Director of Central lntelllgence Dkective (DCID) 6/4. Personnel
  SticUrity Standards, as part of individua.1 responsibilities for being briefed for Sensitive
  Compartmented Information (SCl) access. I understand that it Is my responsibility to
  report any adverse or derogatory information, to includet but not limited to the following:
  Initial Next
  toEachltem

          Involvement in activities or sympathetic association with person which/who
        . unlawfully practice or advocate the overthrow or alteration of the United States
          govemment by unconstitutional means
 ~ilYForeign national contacts other than casual
             oreign citizenship or foreign monetary interests
          Sexual behavior that is criminal or reflects a lack of judgment or discretion
           Unwillingness to comply with rules and regulations or to cooperate with security
           Processing             ·                 ·-
          Apparent mental or emotionarc.U~rder(s)
          Engagement in outs.Ide activities which could cause conflict of interest
             lsuse information technology systems
           Any drug Involvement
             riving While Impaired (DWl) or Driving Under the Influence (DUI)
           Misuse/abuse of alcohol
           Bankruptcy
         _financial difficurtles to Include late payments of 120 days or more
           Wage garnishments
           Significant moving viol_ations {fine in excess   of $100)
           Any and all arrests
   .Report foreign travel 30 days in advance (form must be completed and signed)
  Fchange in marital status (includrng marriage and/or divorce and co-habitation)
   !~
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   37 38
                                                                      of 49
                                                                         of 50
                                                                            PageID 155




                            Exhibit 3
      Case 8:23-cr-00032-KKM-TGW
               Case 1:23-cr-10159-IT Document
                                      Document24
                                               77-9Filed
                                                      Filed
                                                         05/08/23
                                                            07/17/23Page
                                                                      Page
                                                                         38 39
                                                                            of 49
                                                                               of 50
                                                                                  PageID 156




                                                    FOR OFFICIAL USE ONLY
                                   Sensitive Compamnented Information Administrative Security Manual
                                Do}) SWS,21-M-l                                           August 1998

SPECIAL lNSTRUCTIONS FOR COURIERS
                           .      OF SCI IN THE LOCAL TR.AVEL AREA                                                                                  .




  i. You have been designated. as an official courier for SCI material. You are responsible for the protection of the material in
  your custody. You must avoid all places, situations and circumstances which could compromise your ability to protect the
  documents.

  2'. The folloWing information is provided to enable you to carry out your d11ties:
              a, Ensure all SCI material is wrapped, A looked briefcase or pouch should serve ns the outer wrapper. Affix                      a
  courier tag co the outer envelope ofeach envelope containing classified info~tion. Do not affix a courier tag to the outside of
  a briefcase, attacM C11$e, etc•• or-to a cart¢n or c:onUiiner being escorted, as this.would draw attention to the cfassHicd material.
  The inner wrappers inust be marked or labeled as follows:
               IF FOUND, DO NOT OPEN, IMMEDIATBLY NOTIFY SSO (name of Organization and mailing·address)
              TB-LBPHONR: DSN:
               AFTER. DUTY HOURS TBLBPffONE:
  Op!lt}ue envelopes or kraft wrapping paper may be used for jnner ·wrappers; aU seams are to be taped with reinforce-l paper or
  plastic tape, Bulky material may be packaged in durable fiberboaro, cardboard, or wooden boxes. Place proper security
  classification and SCX caveats on both sides of the innermost wrapper, A tisf otall SCI material bemg transported J1Ust be left
  at the controlling facility and the office of the courier. SCI documents will not be left with or signed over to anothl r individual
  without prior approval or imtruetions from the (organization SSO)

             b. Ensure material remains in your personal possession and under your col'lstant swveillance at all times Do not
  11:ave SC! material in looked automobiles, quarters, hotel rooms, train compartments, etc. or stored in automobile tt mks or in
  any detachable storage compartment,                                                                     ·
• ..., · ···' ·• c:. 'Couriers will usu·thermott dil'ect route'foastl?le, Iftl cour.ier·ls unable- fo follow tnfflitinefary or iftlie r, .aieifai is· ··
  lost, stolen or otherwia.e subjected to compromSse enrome. the courier wm immoc!iately report the circumstances tF>
  (organization SSO) by the most rapid means available.                                                         .
     .       d. SC! wm not be read, st\.ldled. displayed, discussed or used in any manner in public conveyances or p1 tees. Do not
  discus:s SCI except in secure areas officiaUy approved for such discussion. Ensure that all personnel having access to or
· viewins the material is riuthorized the appropriate level of SCI access,
               e. Envelope& containing SCI should not be used to.carry or convey personal items. communications, or_ ;ther similar

  4. The courier appointmimt does not authorize the bearer to carry SCI material 10 the!i" home or office for persona
  eonvenience,

  5. N_onoomplrance with the foregoing may be grounds for disciplinary action under the provisions ofUCMJ and/01 Section




                            = ·;:,~
  798, Title 18. 1J.S;C, .
  PRINT NAME:       ~ , - ,~(
                            , i t(\' ~ ~
  SIGNATURE:<:                         ~
                                                    FOR OFFICIAL USE ONLY
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   39 40
                                                                      of 49
                                                                         of 50
                                                                            PageID 157




                            Exhibit 4
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   40 41
                                                                      of 49
                                                                         of 50
                                                                            PageID 158




                                    DEPARTMENT OF THE AIR FORCE
                              HEADQUARTERS EIGHTEENTHAJR FORCE ~MC)




                                                                                         JAN OU 2018.
       MEMORANDUM FOR LIEUTENANT COLONEL ROBERT L. BIRCHUM

       FROM: 18 AF/CV

       SUBJECT: Letter of Reprimand

       I. Investigation revealed that you improperly handled and took, without authority, large volumes
       of classified infonnation. On 24 January 2017, the Air Force Office of Special Investigations
       (AFOSI) was notified that you had a thumb drive at your Tampa (FL)-area residence containing
       classified materials. Further investigation. to include a search of that residence. revealed that
       you had removed this material without authority and subsequently failed 10 safeguard significant
       quantities of classified materials over an extended period of time.

          a. On 24 January 2017, AFOSI seized several other pieces of hardware and hundreds of
       pages of documents from your residence. One seized thumb drive contained over 900 megabytes
       of classified document&, all of which were marked as such. A review of the thumb drive
       documents suggested a majority were created between 2002 and 2008. You had no authority to
       possess these documents. and you additionally failed to safeguard these materials.

           b. In early 2017, you were deployed lo Bagram AB, Afghanistan. A search of your dorm
       room there, following the search of your residence in Florida. revealed several other personal
       electronic devices which contained classified information. Investigators seized hundreds of
       pages of classified documents in addition to the personal electronic devices. The classification
       of these items ranged from SECRET, SECRET// Altemate Compensatory Control Measures
       (ACCM), and Top Secret (TS)// ACCM. The documents you wrongfully took and failed to
       safeguard were from not only the Department of Defense, but also from other agencies in the
       Intelligence Community (IC). In addition to the above classifications, the infonnalion in your
       personal possession in Afghanistan had mullipl!! Sensitive Compartmentalized lnfonnation (SCI)
       caveats, ACCM program names, and other extensive portion control markings. You had no
       authority to possess these documents, and you additionally failed to safeguard these materials.

            c. Upon your redeployment to MacDill AFB, you elected to correspond with the
        USCENTCOM Commander regarding your decision to take and fail lo safeguard classified
      . information. Your correspondence was misleading; you wrote that you may have "accidcntly .
        packed classified infonnation when [you] left JSOC'' which mischaracterized the quantity,
        nature, and duration of the infonnation brcnch. ·In other correspondence. you admitted that you
        improperly took and failed to safeguard classified infonnation beginning in 2004 while you were
        stationed at Ft. Bragg, North Carolina, working at USSOCOM as the Chief of the Combat
        Intelligence Division..
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   41 42
                                                                      of 49
                                                                         of 50
                                                                            PageID 159




           d. A review of your assignment history and Officer Perfonnance Reports (OPRs) revealed
        that you have been assigned to various locations in which you had access to the classified
        infonnation discovered in your possession.

               1. In 1998 as a First Lieutenant assigned to Beale AFB, you were responsible for
       collection of time sensitive U-2 derived intelligence and you also represented 12th Air Force in
       U-2 mission planning issues at joint AF and other IC exercises. The classified information found
       at your home included U-2 data that was developed during this time frame. You had no
       authority to possess these documents, and you additionally failed to safeguard these materials.
               2. In 2000, as a Captain, you had responsibility for near real time U-2 derived imagery
       and signals intelligence collection, exploitation, and dissemination. During 2001-2003, as a
       Captain, you were the Chief of Air Force Intelligence, Surveillance and Reconnaissance (ISR)
       Readiness. The classified infonnation found at your home included materials developed during
       this time frame. You had no authority to possess these documents, and you additionally failed to
       safeguard these materials.

              3. In 2003-2004, also as a Captain, you were assigned to the Directorate of ISR. Deputy
       Chief of Staff, Air and Space Operations at the Pentagon, where you assisted in preparing the Air
       Force ISR program for CSAF, SecAF, HAF and the IC. The classified information found at your
       home included materials developed during this time frame. You had no authority to possess
       these documentst and you additionally failed to safeguard these materials.

               4. In 2004 as a Captain, you were assigned as the Chief of the Combat Intelligence
       Division. In that position you directed all intelligence activities for Aviation Tactics Evaluation
       Group (AVTEG) in support of SECDEF contingencies and exercises. I would note that in this
       position, you worked in the Air Component Command for the Joint Special Operations
       Command (JSOC), the entity whose classified infonnation you admitted to possessing. In 2005,
       while still in that position you pinned on the rank of Major. The classified information found at
       your home included materials developed during this time frame. You had no authority to possess
       these documents, and you additionally failed to safeguard these materials.

               5. In 2008, as a Major, you were assign~d to USSOCOM where you had access to
       infonnation pertaining to Special Operations Forces (SOF) ISR processing, exploitation, and
       dissemination. In 2010, while still assigned at USSOCOM, you pinned on Lieutenant Colonel. The
       classified infonnation found at your home included materials developed during this time frame.
       You had no authority to possess these documents, and you additionally failed to safeguard them.

         _ 6. As a Lieutenant Colonel, you were assigned to be the USSOCOM representative at the
       Office of the Director of National Intelligence (ODNI) where you had access to information from
       other entities within the IC. In that position, you had IC information pertaining to various DoD
       and other sensitive special operations missions, and intelligence pertaining to unconventional
       warfare operations. Finally, as a Lieutenant Colonel, you were deployed to Afghanistan in 2017.
       Owing this deployment, your donn room was searched and several personal electronic devices
       that contained classified information were seized, as mentioned above. The classified information

                                                       2
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   42 43
                                                                      of 49
                                                                         of 50
                                                                            PageID 160




       found at your home included U-2 data that was developed during this time frame. You had no
       authority to possess these documents, and you additionally f~iled to safeguard these materials.

            e. Executive OrderNo.     13526 explains the seriousness by which we classify infonnation to
        protect our national security interests. The Order identifies matters as TS when "unauthorized
        disclosure would cause exceptionally grave damage to the national security." Within TS, there ·
                                      as
        are also additional levels, such Sensitive Compartmented Information (SCI) and Special
        Access Programs (SAP). TS-SCI is for inteiligence sources and methods, and TS-SAP involves
        sensitive policies, projects and programs. The classification ofitems you took without authority
        ranged from SECRET, SECRET// ACCM, and TS//ACCM, as such your unauthorized disclosure
        of these documents could cause exceptionally grave damage to our national security. A review
        of your official militaiy :record revealed that you have signed multiple non-disclosure
        agreements, which clearly defined your responsibilities penaining to classified information. You
      · also signed and acknowledged that you received a security indoctrination concerning the nature
        and protection of classified infonnation. By signing these documents, you were also put on
        notice that unauthorized disclosure, retention, or negligent handling of classified information
        could cause damage or irreparable injury to the United States.                                ·

       2. You are hereby reprimanded! Your actions are crimjnal under Article 92 (3), Uniform Code
       ofMilitary Justice (UCMJJ, Dereliction of Duty, and Article 133, UCMJ, Conduct Unbecoming
       of an Officer, for wrongfully taking and failing to properly safeguard classified infonnation. You
       have improperly handled and taken large volumes of classified information that was clearly
       marked as such. Your failure to properly safeguard Secret and TS information is irresponsible
       and causes me to question your judgment. Your actions are disgraceful and have potentially
       seriously compromised national security. You have also compromised your integrity and
       character as an officer. As a field grade officer in the U.S. Air Force you are to demonstrate an
       internalized understanding of Air Force core values. You have engaged in an inexcusable
       manner that is not only irresponsible, but blatantly disregards our Service values: Your
       despicable actions reflect poorly on yourself. This type of behavior will not be tolerated, and
       these actions seriously bring into question your ability to serve as an officer in the U.S. Air
       Force. Any future violations of this nature may result in more severe action against you.

       3. AUTHORITY: 10 U.S.C. 8013. PURPOSE: To obtain any comments or documents you
       desire to submit (on a voluntaiy basis) for consideration concerning this action. ROUTINE
       USES: Provides you an opportunity to submit comments or documents for consideration. If
       provided, the comments and documents you submit become part of this action. DISCLOSURE:
       Your written acknowledgment of receipt and signature are mandatory. Any other comments or
       documentation you provide is voluntary.

       4. In accordance with AFI 36-2907, Unjavorable Information File (UJF) Program, LO Rs must
       be filed in an officer's UIF. Should I decide to maintain this LOR, your senior rater will also
       make the decision whether to place the LOR in your Officer Selection Record (OSR) pursuant to
       AFI 36-2608. Military Personnel Records System.


                                                       3
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   43 44
                                                                      of 49
                                                                         of 50
                                                                            PageID 161




       S. You will acknowledge receipt and return this letter to me within three (3) duty days of your
       receipt. Your signature on this document is solely for receipt purposes and is not an admission
       of guilt. Any comments or documents you wish to be considered concerning this LOR and its
       inclusion in your OSR must be included with y<>ur response.             ·




                                                           ~
                                                           Brigadier General, USAF
                                                           Vice Commander


        2 Attachments: ·
        I. Affidavit by SA Kiernan, dated 21 December 2017
        2. Non-I)isclosure Agreements


        1st Ind, Lt Col Robert L. Birchum, Letter of Reprimand, .2_ January 2018

        MEMORANDUMFOR 18AWCV
         I acknowledge receipt of the Letter of Reprimand (LOR) at O'fts6"" (time) hours on
         11 J:anU4i\2o' t (date). I understand I can submit a r e ~ ~ ~ • the response will be
         due within ree (3) duty days, by 1tr Jariw,,.rft:'yJ I V ' f f i l J ~ submit a response. I
       · also understand that an LOR is a mandatory U entry.


                                                       ~~~
                                                             ROBERT L. BIRCHUM, Lt Col, USAF




                                                       4
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   44 45
                                                                      of 49
                                                                         of 50
                                                                            PageID 162




                            Exhibit 5
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   45 46
                                                                      of 49
                                                                         of 50
                                                                            PageID 163
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   46 47
                                                                      of 49
                                                                         of 50
                                                                            PageID 164




                            Exhibit 6
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   47 48
                                                                      of 49
                                                                         of 50
                                                                            PageID 165



                             DEPARTMENT OF THE AIR FORCE
                               6TH AIR MOBILITY WING (AMC)
                              MACDILL AIR FORCE BASE; FLORIDA


                                                                                            JAN 2 9 2018

 MEMORANDUM FOR LIEUTENANT COLONEL ROBERT L. BIRCHUM

 FROM: 6 AMW/CC

 SUBJECT: Letter of Reprimand

                                         or
 L It has come to my attention that on before 22 December 2017 you unlawfully transported
 one or more privately owned firearms onto MacDill Air Force Base, Florida, and that on
 22 December 2017 you unlawfully possessed a privately ov.rned firearm-a Bersa Thunder .380-
 caliber pistol, with a full magazine of ammunition inserted in the firearm and a live round in the
 chamber-at your work center in the Wing Historian Office, Building 299, 6th Air Mobility Wing
 Headquarters. According to statements you made to your supervisor, you routinely possessed
 and/or caiTied a firearm on the installation despite the fact you were not authorized to do so.

 2. YOU ARE HEREBY REPRIMANDED! Your actions are criminal under federal law,
 18 U.S.C. 930 and Article 134, UCMJ, conduct pr~judicial to good order and discipline. You
 violated the trust placed in you, and you identified yourself as a threat to the safety and security of
 the installation. Your criminal actions raise serious concerns about your integrity and character~
 and about your continued servic-e as an Air Force officer. Future misconduct may result in more
 severe action against you. In accordance with AFI 36-2907, LORs must be filed in an officer,_s
 UIF. Should I decide to maintain this LOR, your senior rater \viii also make the decision whether
 to place the LOR in your Officer Selection Record (OSR) pursuant to AFI 36-2608.

 3. AUTHORITY: 10 U.S.C. 8013. PURPOSE: To obtain any comments or documents you
 desire to submit {on a voluntary basis) for consideration concerning this action. ROUTINE
 USES: Provides you an opportunity to submit comments or documents for consideration. If
 provided, the comments and documents you submit become part of this action. DISCLOSURE:
 Your written acknowledgment of receipt and signature are mandatory. Any other comments or
 documentation you provide is voluntary.

 4. You will acknowledge receipt and return this letter to me within three (3) duty days of your
 receipt. Your signature on this document is solely for receipt purposes and is not an admission of
 guilt. Any comments or documents you wish to be considered concerning this LOR and its
 inclusion in your OSR must be included with your response.




                                                         IL . VOGEL, Colonel. USAF
                                                      Commander

 Attachment:
 Memorandum for Record, Lt Col Brandon Leifer, dated 29 January 2018

                           MISSION FOCUSED ... VALUED AIRMEN
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   48 49
                                                                      of 49
                                                                         of 50
                                                                            PageID 166



                                DEPARTMENT OF THE AIR FORCE
                                   6TH AIR MOBILITY WING (AMC)
                                 MACI)ILL AIR FORCE BASE, FLORIDA



                                                                                                    JAN 2 9 2018

 MEMORANDUM FOR LT COL ROBERT L. BIRCHUM
                6AMWDS
                MacDill AFB FL 33621

 FROM: 6 AMW/CC
       8208 Hangar Loop Drive, Suite I
       MacDiU Air Force Base FL 33621-5502

 SUBJECT: Order Not to Enter or Reenter Military Installation

 I. It has come to my attention that you have engaged in criminal conduct detrimental to good order and
·discipline on MacDm Air Force Base, Florida. Specifically, investigation shows you unlawfully had a
 firearm in your possession in your workcenter on MacDill Air Force Base.

 2. Based on the information provided, I consider your presence on this iustaUation to be detrimental .to
 the maintenance of good order and discipline. Effective immediately, you are ordered not to enter
 MacDill Air Force Base to include, but not limited to, base housing, the golf course, the Brandon CJinic,
 and any property under MacDill Air Force Base jurisdiction for a period of:

     [ ] One year     [X] Three years     [ ] Seven years      [ ] Ten years      [ ] Other:----

 3. If you fail to comply with this order, you will be subject to prosecution under Title 18, United States
 Code, Section 1382, which reads in part:

           "Whoever reenters or is found within any installation, after having been removed therefrom or
 ordered not to reenter by any officer or person ln command or charge thereof, shall be fined under this
 title or imp1isoned not more than six months, or both."
                                                        and or

          "lf you fail t-o cohlply with the order, yon may also be subject to prosecution under 50 USC 797,
 which states •whoever wm fully violate any defense property security regulation shall be fined under Title
 I 8 or imprisoned not more than one year or both'.''

 4. Should you reenter MacDill Air Force Base in violation of this order, you will be subject to detention
 or apprehension by Security Forces for de-livery to the appropriate civilian or military authorities.

 5. As an exception to this debarment order, if you are entitled to medical treatment by the MacDill Air
 Force Base Clinic, you may be authorized to enter MacDHI Air Force Base for the sole purpose of using
 said facility. To do so, you must present this letter to the entry controlier at the installation entry point
 and obtain the appropriate visitor pass. Additionally, you may only enter the installation if you are
 escorted by Security Forces or other personnel authorized by the 6 AMW Director of StafT(DS), the 6
 CPTS leadership or higher command authority. You may not enter the installation without an authorized
 escort {for example., your dependent family members, who may have base access of their own, are not
 authorized to serve as escort). With your escort(s), you will travel directly to the medical facility by
 entering through the Dale Mabiy Gate to Zemke Ave, then to the 6th Medical Group facility. You may
 not deviate from this route for any reason on your way to or from the medical facility. You are:

                             MISSION FOCUSED ..• VALUED AIRMEN
Case 8:23-cr-00032-KKM-TGW
         Case 1:23-cr-10159-IT Document
                                Document24
                                         77-9Filed
                                                Filed
                                                   05/08/23
                                                      07/17/23Page
                                                                Page
                                                                   49 50
                                                                      of 49
                                                                         of 50
                                                                            PageID 167




     [X] Authorized Installation Access for Medical Treatment
     [ ] Authorized Medical Treatment at Brandon Clinic
     [ ] Not Authom.ed Installation Medical Treatment or Brandon Clinic

  In order to address your healthcare benefits, please contact the 6th Medical Support Squadron
  Commander at (813) 827-9526. 6 MDSS/CC will set up a time for you to discuss healthcare support
  throughout your bannent along with other options you might consider.

  6. As an additional exception to this debarment order, if you are entitled to legal assistance from the
  military defense counsel, you may be authom.ed to enter the installation for the purpose of consulting
  your defense counsel by appointment. You are subject to the same restrictions regarding having an
  authorized escort as described in paragraph 5 above. You are not authorii.ed access to any other
  installation facility not connected with these appointments.

  7. Under extraordinary circumstances. requests for temporary access to oilier facilities on MacDill Air
  Force Base may be granted. Such requests should be made in advance and in writing through the Chief,
  Security Forces, and include the reason(s) why access should be granted. If time does not pennit, such a
  request must be made to the Base Defense Operations Center {BDOC) at (813) 828~3322. The controller
  will then notify the appropriate officials and convey your request.

  8. This order will remain in effect for the period prescn"bed in paragraph 2, unless otherwise modified or
  revoked in writing by th!:} Installation Commander. If a compelling reason exists which you believe
  should be sufficient to justify modification-Or termination of this order, you may submit your justification
  to me, in writing, through the 61h Security Forces Squadron. Administration and Reports Section,
  requesting authorization to reenter the base.




                                                              APRIL D. VOGEL, Colonel, USAF
                                                              Commander

  Cc:
  6 SFS Administration & Reports Section

  1st Ind, Lt Col Robert L. Birchum

  MEMORANDUMFOR6AMW/CC

  This is to certify that I, the undersigned, have received the forgoing order in writing and have read and
  fully understand the same. I understand that entry upon MacDill Air Force Base, in violation of this
  order, may result in civilian prosecution pursuant to 18 U.S.C. 1382. I further understand that in the event
  of a conviction, the maximum penalty prescribed may be imposed.

  Received and signed the                                            • 20 1r.

                                                        ,-)~~~
                                                             ROBERT L. BIR.CHUM, Lt Col, USAF
